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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                      CENTRAL DIVISION at LEXINGTON

                               )
                               )                    MDL No. 1877
                               )
IN RE CLASSICSTAR MARE LEASE   )                   Master File:
LITIGATION                     )           Civil Action No. 07-353-JMH
                               )
and                            )
                               )
WEST HILLS FARMS, LLC, et al., )
                               )
     Plaintiffs,               )
                               )           Civil Action No. 06-243-JMH
v.                             )
                               )
CLASSICSTAR, LLC, et al.,      )           MEMORANDUM OPINION AND ORDER
                               )
     Defendants.               )



                                *** *** ***

      This matter is before the Court upon the Motion for Summary

Judgment made by Plaintiffs Arbor Farms, LLC, Jaswinder Grover,

Monica Grover, MacDonald Stables, LLC, Nelson Breeders, LLC, and

West Hills Farms, LLC [DE 482].1         David Plummer, Spencer Plummer,

and Strategic Opportunity Solutions, LLC, which did business as

Buffalo Ranch, have filed a Response stating their objections [DE

      1
        Additionally, Plaintiffs have made a Motion to Substitute
Certain Exhibits in Support of their Summary Judgment Pleadings [DE
565]. The sole response received to this Motion was authored by
Defendant Gastar Exploration, Ltd. [DE 575], no longer a party to
this case.     The Court has reviewed the motion, the objections,
and Plaintiffs’ Reply in further support of their Motion [DE 588],
and concludes that – even if the objections are considered – the
Motion will be granted. In its review of the present Motion for
Summary Judgment, it is the substituted exhibits – the sworn
reports of the experts – that have been considered part and parcel
of the record.
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514, 524], as have ClassicStar 2004, LLC, ClassicStar Farms, Inc.,

Tony Ferguson, GeoStar Corporation, GeoStar Financial Services

Corporation, and Thom Robinson [see DE 515, 523],2 and John Parrott

[DE 533].3       In turn, Plaintiffs have filed replies in further

support of their Motion for Summary Judgment [see DE 549, 550,

556].4      Additionally, the Court has had the benefit of the parties’

additional briefs and oral argument on issues related to damages:

the Plaintiffs’ Notice Supplementing the Amount of Damages Sought

in   Motion     for    Summary   Judgment      [DE   741];   Defendants   GeoStar

Corporation, ClassicStar Farms, Inc., Tony Ferguson, Thom Robinson,

First       Source    Wyoming,   Inc.,   and     GeoStar     Financial    Services

Corporation’s         Notice of Objections to Plaintiffs’ Request for




        2
        Defendant ClassicStar 2004, LLC, ClassicStar Farms, Inc.,
Tony Ferguson, GeoStar Corporation, GeoStar Financial Services
Corporation, and Thom Robinson’s Motion for Leave to File Excess
Pages [DE 515] shall be granted, and their response as tendered
shall be filed in the record of this matter.
        3
        James D. Lyon, Trustee, has also filed a Response [DE 503]
in which he indicates that the Motion is moot as to Defendant
ClassicStar, LLC, as a settlement has been reached by and between
the Trusttee and the West Hills Plaintiffs with respect to all
claims asserted in this action and In re ClassicStar LLC, Debtor,
Chapter 6, Case No. 07-51786-JMS in the Bankruptcy Court for the
Eastern District of Kentucky. There being no disagreement with the
trustee’s assertions by the West Hills Farms Plaintiffs, the Court
will deny the Motion as Moot as to James D. Lyon in his capacity as
Trustee for the Estate of ClassicStar, LLC, substituted for
Defendant ClassicStar, LLC, on July 3, 2008.
        4
        Plaintiffs’ Motions for Leave to File Excess Pages [DE 535,
536, 555] shall be granted and their tendered replies filed in the
record.

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Damages and Motion for Briefing5 [DE 742, 744]; Defendant Parrott’s

Notice of Objections to Plaintiffs’ Request for Damages [DE 743];

Plaintiffs’         Reply   to   Objections     [DE   745];   Defendants    GeoStar

Corporation, ClassicStar Farms, Inc., Tony Ferguson, Thom Robinson,

First       Source    Wyoming,    Inc.,   and     GeoStar     Financial    Services

Corporation’s Reply in Support of Objections to Plaintiffs’ Request

for Damages [DE 750]; and Plaintiffs’ Sur-Reply to Objections [DE

755]. [See also DE 756, Minute Entry Order for Hearing, September

29, 2011.]

I.      Factual and Procedural Background

               A.     The ClassicStar Mare Lease Program

        Between 2001 and 2005 the ClassicStar Mare Lease Program

generated over $600 million in sales primarily to high income

individuals with an interest in participating in the thoroughbred

horse industry.             The Mare Lease Program, in theory, allowed

participants to lease valuable thoroughbred mares from an operation

with a long track record of success in the thoroughbred industry

and breed those mares for a season, keeping the resulting foal.

During the relevant period, GeoStar Corporation (“GeoStar”) owned

ClassicStar, LLC (“ClassicStar”), which represented to potential

investors that participants in its (and its predecessor’s) Programs

        5
       Defendants GeoStar Corporation, ClassicStar Farms, Inc.,
Tony Ferguson, Thom Robinson, First Source Wyoming, Inc., and
GeoStar Financial Services Corporation have since indicated that
they no longer wish to have additional briefing, and this motion
shall be denied.

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had sold horses for an average of 130% of the cost to lease the

mare and produce the foal.       ClassicStar warranted to its investors

that it owned the mares involved in the Program and represented

that the base price of a mare lease would be approximately 30% of

the value of the mare.

      Investors often purchased packages involving multiple pairings

and carrying large price tags.         Financing was available for these

large purchases, and participants could            finance half or more of

their packages with a supposedly reputable third party lender.

Moreover, the Mare Lease Program was marketed as structured so as

to allow purchasers to claim tax deduction for the expenses

associated with their breeding business including the loan, and

investors were advised that no investor had ever had a deduction

associated with the Program disallowed.6

      Finally,    participants     were     provided   the   opportunity     to

exchange portions of their mare lease interests for other assets

including working interests in coal bed methane developments stock

in Gastar Exploration, Ltd. (“Gastar”), GeoStar’s publicly traded

affiliate, and units in First Equine Energy Partners, L.L.C.



      6
       As an example of how the tax benefits were touted, a third-
party promoter for the ClassicStar Program, Douglas C. Anderson,
was provided and used tax opinions in marketing the program. He
kept an opinion prepared by the law firm of Handler, Thayer &
Duggan (positive, of course) on hand for use when requested from
potential investors. He also referred principals of several of the
Plaintiffs (Walter Remmers, Dennis Sackhoff, and Bryan Nelson) to
the law firm of Hanna Strader for tax opinions.

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(“FEEP”), an entity crafted by GeoStar’s principals which purported

to have interests in both horses and coal bed methane properties.

      B.    The Ruse

      If the potential for returns and the generous tax benefits

associated with the Mare Lease Program seemed too good to be true,

it was because they ultimately were.            This was not apparent, of

course to investors, because the participants were not told the

truth.

      From the beginning, ClassicStar sold more Mare Lease Programs

than its existing interests in thoroughbred breeding opportunities

could support, promising participants far more breeding pairings

than it had thoroughbreds to deliver.               It was represented to

Plaintiffs that mare leases would be priced at approximately 30% of

the cost of the mare, which was in keeping with industry custom

where mare leases are priced at approximately 30-40% of the cost of

the mare, and the agreements between Plaintiffs and ClassicStar

stated in no uncertain terms that ClassicStar owned the horses that

it purported to lease to participants. Yet, GeoStar maintained tax

asset ledgers listing all of ClassicStar’s equine assets and which

show that, at the same time ClassicStar was selling an average of

$150 million in mare lease packages in each of 2001, 2002, 2003,

and 2004, it owned less than $10 million dollars worth of mares in

2001, only $37 million dollars worth of mares in 2002, $56 million

worth of mares in 2003, and $48 million worth of mares in 2004.


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Even       though    ClassicStar’s     horse    wealth   grew   with    each   year,

ClassicStar would have needed more than $300 million worth of mares

to support $150 million of Mare Lease Program sales in any given

year, and its assets were never even close.7

       Early        on,   ClassicStar     glossed     over    its    shortfall    of

thoroughbred         inventory    by   providing     participants      listings   of

pairings denominated as “TBN” or “to be named.”                 Participants were

encouraged to exchange their yet unnamed pairings for interests in

GeoStar’s mineral programs, relieving ClassicStar of the pressure

to produce an adequate number of thoroughbred pairings to its Mare

Lease Program participants.            Eventually, ClassicStar stopped using

the “TBN designation” and started including quarter horse breeding

pairs in the packages, although the cost of participating and the

value listed for those horses still reflected those associated with

thoroughbred pairings.             Effectively, the prices were inflated

beyond what the best quarter horse foal could be expected to bring

at sale and substantially overstating the number of potential

embryos which a mare could generate in a season.                    ClassicStar did

not actually own the quarter horses.                Rather, they were “on loan”

from       the   Plummers   and   their   aptly     named    business,    Strategic

Opportunity Solutions, LLC (“SOS”) which operated as Buffalo Ranch.


       7
        ClassicStar’s books, maintained by GeoStar, also included
entries for accrued mare lease liabilities which GeoStar’s
representative has explained as the amount of money required to
fill the prior years’ packages – approximately $250 million in 2003
and 2004.

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Indeed, it was only in late 2004 that Tony Ferguson executed back-

dated lease agreements with SOS. Until those back-dated agreements

were signed, ClassicStar had no formal arrangement to lease the

quarter horses it included for the price of $400 million in the

Mare Lease Packages for 2002, 2003, and 2004. Of course, according

to Shane Plummer who handled the quarter-horse element of the

business for ClassicStar, the quarter horses were never actually to

be leased to ClassicStar or to be bred for Mare Lease participants

– rather the quarter horse breeding pairings were placeholders,

designed to support tax deductions then to be traded out for some

other asset before breeding occurred.8

      Throughout this case, Plaintiffs have theorized that the

participation of an actual independent lender might have exposed

the overvaluation and underpopulation issues because such a lender

would likely have wanted to confirm that participants did acquire

the rights to leased mares and stallion pairings and that the

prices paid bore some relationship to the value of the horses


      8
        It is also clear from emails exchanged by accountant Terry
Green, Ferguson, and the Plummers that it was never intended that
ClassicStar would be saddled with payment for the quarter horses.
Bill Bolles, the GeoStar accountant who maintained the ClassicStar
general ledgers, testified that he was unaware of any lease
agreement with Buffalo Ranch and that he was told by Thom Robinson
and others that ClassicStar’s “lease payments” to Buffalo Ranch
were really loan payments. It is telling that, at the termination
of the Plummer Defendants’ involvement with ClassicStar, in late
2005, GeoStar voided out the Buffalo Ranch leases with the effect
that none of the $400 million of quarter horse mare lease interests
pledged to ClassicStar’s 2002, 2003, and 2004 Mare Lease Program
participants could be delivered to them.

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involved.      That might be, and, of course, that is not what

happened.      Instead, the loans were placed with NELC, a small

company and a shell formed by persons affiliated with ClassicStar

and controlled by ClassicStar.              Not surprisingly, NELC did not

insist on independent confirmation of the value of the horses.

David Plummer’s brother-in-law, Gary Thomson, acted as NELC’s

manager and answered to David Plummer.              Thomson has testified that

NELC could not make a loan without ClassicStar’s consent, that it

made no investigation of the collateral and relied totally on

ClassicStar,     and   that     it   made   no    inquiries   before    accepting

substitute     collateral       when   Mare       Lease   Program    participants

exchanged    their     equine   assets      for    interest   in    other   GeoStar

programs or entities.

      NELC had no other business and no funds of its own.                   In fact,

ClassicStar transferred the amounts needed to fund the loans to

NELC, and NELC transferred them back to ClassicStar as loan

proceeds, often on the next day. In fact, ClassicStar did not even

treat the proceeds of these “loans” as “funds received.”                      As an

example, NELC wrote $7 million check to ClassicStar for Plaintiff

Arbor Farms’ financed interest on December 7, 2004; it wrote a $7

million check to ClassicStar for West Hills’ financed interests in

December 7, 2004; and it wrote three checks totaling $21.5 million

to ClassicStar for Nelson Breeders’ financed interests on December

8, 2004.    ClassicStar’s bank records and the NELC general ledgers


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show that NELC received the money in the amount necessary to write

out those checks through payments from ClassicStar on the same day

they were made.9

      Of course, because a subset of the horses touted as available

either did not really exist because of underpopulation of the Mare

Lease Program or were, at best, extremely overvalued (quarter

horses    rather    than   thoroughbreds)         when   they     were   available,

Plaintiffs and other investors should not have been able to claim

the business deduction on their federal income tax returns as

advertised by ClassicStar. Almost certainly the participants needed

actual mares and not the promise of mares or mere placeholder

horses to support current year deduction for expenses associated

with those mares.       Participants were then paying fees and taking

deductions     associated     with    breeding,          board,    and   insurance

activities which never occurred.         By encouraging investors to take

the    deduction,    knowing     about      the     endemic       underpopulation/

overvaluation problems, ClassicStar and its agents were working a

tax fraud on the United States Government (triggering a criminal

investigation into its practices and, eventually, convictions for



      9
         As if the lending situation were not stilted enough,
ClassicStar lawyers, financial planners hired by or affiliated with
ClassicStar and GeoStar, and, in the case of the Plaintiffs, the
investors’ own supposedly independent lawyers were effectively paid
by ClassicStar to validate the Program, advising participants that
all was in order and that they could deduct the full amount of the
Mare Lease purchase as horse breeding deduction on their tax
returns. This is explained in more detail below.

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 that fraud for some of the individual defendants in this case) as

 well as perpetuating the misrepresentations it had visited on the

 participants with respect to the benefits of participating in a

 Mare Lease Program.      Ultimately, the packages had precious little

 economic    value   to   offer    apart     from   the   tax   benefits,   but

 ClassicStar never revealed earlier audits of its Programs by the

 IRS nor revealed that at least one participant had his deduction

 disallowed.10

       Of course, since ClassicStar never had sufficient equine

 assets to deliver the required number of pairings, GeoStar offered

 participants     several     alternative      transactions      through    its

 subsidiaries, described in further detail below, each of which

 would relieve ClassicStar of its obligation to produce an equine

 pairing and ultimately disguise its lack of inventory.               From the

 inception, according to GeoStar accountant Bill Bolles, GeoStar and

 ClassicStar intended at least 60% of participants to convert from



       10
         With respect to the potential for tax benefits, the NELC
 loans were also problematic. Defendants marketed the Mare Lease
 Program to include leverage provided by the loans as a means of
 expanding the available tax benefits.         The fact that NELC
 functioned entirely within the control of ClassicStar raised the
 question, however, of whether participants were at risk on the
 loans because it was not known if ClassicStar intended for NELC to
 enforce the participant’s notes or whether NELC would have
 succeeded. As Plaintiffs explain it, through the report of their
 expert Edward A. Morse, it is necessary to be “at risk” in order to
 deduct losses under I.R.C. § 465(b), and the failure to disclose
 the captured nature of NELC was germane to both the deductibility
 of their loans and was, thus, material to their decision to
 participate in the Programs.

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 mare lease to working interests and ultimately to stock.             In other

 words, these exchanges were always necessary in order for the

 program to work.     As Ferguson explained to Douglas C. Anderson, a

 third-party promoter paid to market the Mare Lease Programs,

 GeoStar ultimately sought to pump money into the gas program and

 drilling gas wells, from which the Court gathers that GeoStar

 acquired and operated ClassicStar as a means of financing the

 development of its mineral properties.11

       To make these conversions attractive, GeoStar represented to


       11
         Even prior to GeoStar’s acquisition of ClassicStar in 2001,
 David Plummer and GeoStar representatives marketed the Mare Lease
 concept together with GeoStar’s existing drilling programs as a
 “Combination Program.”    As early as 2000, when David Plummer, who
 was operating a mare lease business, joined forces with Ferguson,
 Parrott, and Robinson who, through GeoStar, were promoting
 development of coal bed methane properties.       Once it acquired
 ClassicStar, it solicited the 2001 Mare Lease Program participants
 to convert the majority of their equine breeding packages into oil
 and gas working interests in various wells jointly owned by First
 Source Wyoming (“FSW”) (GeoStar’s wholly owned subsidiary) and
 Gastar (GeoStar’s publically traded subsidiary). The Combination
 Program was touted for several years because it would preserve
 significant tax benefits from the initial farm loss carry back
 provision, then permit investors to avoid taxes related to the sale
 of foals when they exchanged their equine interests into gas wells
 begin drilled by FSW in the subsequent year, and, ultimately, avoid
 ordinary tax income on their ultimate sale of that asset by
 exchanging the working interest for stock in Gastar and holding
 that stock for the required period.
      Of course, Ferguson also told third-party promoter Anderson
 that the reason GeoStar bought ClassicStar in the first place was
 to raise money for the oil and gas business.         The owners of
 ClassicStar and GeoStar intended for at least 60% of Mare Lease
 Participants to convert from mare lease to working interests and
 ultimately to stock. The conversions, which disguised the lack of
 mares needed to support the volume of leases, also provided the
 only substantial source of funding for the development of gas
 properties which GeoStar acquired and then transferred to Gastar.

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 the ClassicStar participants that 90% of the conversions made could

 be deducted as intangible drilling costs on participant’s tax

 returns. Thus, GeoStar Controller Frederick Lambert issued letters

 to   those    participants      converting     their     investments    which

 represented that no less than $60 million in intangible drilling

 costs deductions were available for 2002. However, for the working

 interests in 100 wells owned in part by the subsidiary First Source

 Wyoming (“FSW”) at the relevant times, GeoStar ultimately was

 working with a maximum in $10,000,000 in working interests on a

 yearly basis.      Nonetheless, GeoStar sold $30 million worth of

 interests in FSW in 2000, $30 million in 2001, and $70 million in

 2002.     The 2002 sales of interests in FSW were comprised almost

 exclusively of conversions by Mare Lease participants.              For those

 conversions to work, a converting participant would need to take a

 deduction sufficient to offset the gain from the transaction –

 otherwise they would incur a tax liability.              With respect to the

 wells in question for FSW, capital expenditures on wells averaged

 less than $100,000, with intangible drilling costs less than that.

 GeoStar    nonetheless    promoted    the   wells   as    having   intangible

 drilling costs of well over $360,000 per well.                 In this way,

 GeoStar promoted a tax free conversion from mare lease to working

 interests which was ultimately a fabrication.                Ultimately, of

 course, GeoStar never paid operating income to any of the working

 interests participants converted out of ClassicStar Mare Lease


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 Programs        nor     actually     account        to   these      working           interest

 participants fro the revenues or expenses associated with the well

 operations.        Rather, if participants received distributions, they

 related       to   a    fixed   percentage     of    the     amount      of     the   initial

 purchase, rather than actual operating revenues – and it came from

 sources other than the drilling programs.                         It did so with the

 intention that the interests would never actually be conveyed and

 would        instead    be   converted     into     Gastar      stock.12        When     those

 conversions were made, the conversion rate for Gastar stock was

 based on the price of the stock at the date of the participants’

 conversions        to    the    drilling     program       so     that     no    subsequent

 valuations were ever made for participants.

         Ultimately, GeoStar no longer wished to offer Gastar stock as

 an “exit strategy,” so additional companies were created. By 2004,

 the FSW oil and gas conversion program had been terminated, and

 GeoStar        began    to   offer   the   conversion        of    any     quarter      horse

 interests obtained from the Mare Lease Packages into shares of

 FEEP.        The principal assets were purported to be quarter horse

 breeding interests traded to FEEP by participants and working


         12
          Indeed, GeoStar never recorded those participations in
 working interests or made actual assignments to the participants.
 When GeoStar, together with Gastar, sold the wells in which it
 purported to have conveyed $100 million of working interests, it
 represented to the purchaser that there were no working interests
 associated with those wells. This is in keeping with the fact that
 GeoStar never treated the working interests as anything other than
 a means of generating a tax deduction along the path to
 participant’s ownership of Gastar stock.

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 interests in Wyoming wells – the same ones discussed above under

 the FSW iteration of this option.

       Of course, GeoStar (along with others) was aware of the

 shortage of horses in the Mare Lease Program and the insufficiency

 of the gas interests, but $100 million of 2002-2003 Mare Lease

 Program interests were converted into the FEEP program.               Another

 $82 million of the Mare Lease Program interests for the 2004

 participants were slotted for conversion to FEEP by October 19,

 2004 – even though FEEP acquired no assets at anytime and never

 actually operated. The private placement memorandum distributed to

 Mare Lease Program participants stated that GeoStar would buy back

 the FEEP units at the price the participants had initially paid

 ClassicStar for the breeding interests traded for the FEEP units.

 GeoStar ultimately decided that it would not honor this commitment.

 Effectively, then, the FEEP units never had any value.

       Beginning in 2004, GeoStar committed to buy back numerous

 other mare lease and oil and gas working interests that its

 subsidiaries could not deliver, doing so itself and through its

 subsidiaries ClassicStar Financial Services, Inc. (“CFSI”), and

 GeoStar Financial Services Corp. (“GFSC”),           GeoStar would offer a

 promissory note from one of the subsidiaries in consideration for

 the buy-backs.     Of course, records reveal that these subsidiaries

 never had the cash to pay back the notes – indeed, never had assets

 besides unpaid accounts receivable from other GeoStar subsidiaries.


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        C.      The Role of the Defendants

        As described above, the scheme – for a scheme it was – was

 complex and involved many participants.              Even before ClassicStar’s

 acquisition by GeoStar, when it was known as New Classic Breeders,

 LLC,    and    owned   by    the   Plummers,   the   entity   was   the      primary

 marketing vehicle for not only its own mare lease offerings but

 also a combination equine-mineral investment programs. Through its

 successful sales of the combined Mare Lease and drilling programs,

 ClassicStar generated a revenue stream which supported Gastar and

 GeoStar’s mineral exploration interests.              That role continued once

 GeoStar acquired ClassicStar.                NELC provided the loans which

 increased the size and feasability of the packages for investors.

 GeoStar managed ClassicStar’s finances and, through its other

 subsidiaries, oversaw the development of mineral properties.

 GeoStar’s financial stability was used to reassure participants of

 ClassicStar’s ability to meet its obligations and, to prove the

 point, it actually guaranteed or paid for many of ClassicStar’s

 obligations.13       Gastar was designed to hold the mineral properties

 until       they   could    be   developed   sufficiently     so   as   to   become


        13
           GeoStar has, along the way, argued that the Plummer
 Defendants were really responsible for this entire situation.
 GeoStar, however, wholly owned and controlled Classic Star
 throughout the relevant period. It was GeoStar and not the Plummer
 Defendants who maintained ClassicStar’s general ledger and who had
 exclusive control and signatory authority over the ClassicStar
 checking and other financial accounts for the relevant time period.
 And, from the funds taken in by ClassicStar in the Mare Lease
 Program, GeoStar took more than $115 million of the revenues.

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 marketable and its stock provided an additional and critical

 incentive to early participants in the form of liquid asset which

 would allow them to realize their gain.                    Gastar’s resources were

 also used to assure investors of the financial stability of the

 Mare Lease Program, as some investors were told that Gastar would

 purchase          additional         thoroughbred     interests       to    populate

 ClassicStar’s Mare Lease Programs.                  Eventually, FEEP, GFSC, and

 other shells created by GeoStar and made offerings which took the

 place        of   the   now   more    valuable    Gastar    stock.   FEEP   and   GFSC

 opportunities were, as interests in FSW before them, ultimately

 used to disguise the overselling of the Mare Lease Program by

 purporting to relieve ClassicStar of its lease obligations through

 the exchange of other assets.14

         The individual defendants had their own particular areas of



         14
         One such additional entity, the ClassicStar Racing Stable
 Limited Partnership, is not involved in any of the claims raised by
 Plaintiffs. It is worth noting, however, that it served a similar
 purpose in the enterprise by purporting to accept contributions of
 mare lease pairings from participants in exchange for units in the
 partnership which then paid shares of its earnings to the
 participants.    The partnership had no assets.       It nominally
 acquired stallions and race horses from ClassicStar in exchange for
 participants’ lease rights, but it then immediately leased these
 horses back to ClassicStar.     The lease payments thus generated
 supposedly paid interest on the participants NELC loans which, in
 actuality, had been funded by ClassicStar At the end of the
 required capital gains holding period the partnership would be
 liquidated but because the majority of participants had substantial
 NELC debt, the proceeds generated would do nothing more than cancel
 the notes. Ultimately, of course, ClassicStar was relieved of its
 obligations to provide equine interests but no substantive
 transaction took place.

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 responsibility in making the scheme work.           Robinson, Parrott, and

 Ferguson owned GeoStar.       Robinson, who held the titles of CEO and

 President of Geostar, made most of the financial decisions for the

 enterprise. He directed the purchase of New Classic Breeders, LLC,

 which became ClassicStar, from David Plummer in 2001 and executed

 the purchase documents.          He, Ferguson, and Parrott personally

 guaranteed the loan documents with Fifth Third Bank which provided

 financing to the equine side of the enterprise, i.e., ClassicStar

 itself.   Robinson’s involvement did not stop there.           He also acted

 as ClassicStar’s co-manager, placed insurance for its inventory,

 oversaw     its   salespeople,    and   participated      in   presentations

 marketing the Mare Lease Programs to potential investors. Robinson

 also hired David Plummer to serve as GeoStar’s Marketing Director

 and ClassicStar’s head of marketing so that he could promote the

 combined mare lease and drilling programs.          Robinson was listed in

 the FSW working interest promotions as a founder and key member

 upon whose services the success of the drilling programs depended.

 He participated in the transactions that led to the acquisition of

 Gastar by GeoStar, served as Gastar’s CEO and President from 2000-

 2004, and served as the Chairman of the Board of Directors for

 Gastar until 2006.      He participated, as well, in the drafting of

 the conversion documents for what ultimately became the FEEP

 offering.

       Parrott’s role was largely behind the scenes or at least he


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 was a faceless presence to many investors in the Mare Lease

 Programs, but his involvement in the Enterprise was wide reaching.

 He reviewed and approved marketing materials used by ClassicStar,

 including attorney opinion letters, and negotiated agreements with

 various promoters of the Mare Lease Programs.            It was Parrott who

 negotiated an agreement to pay Hanna Strader, the law firm who

 ultimately represented the Nelson, West Hills and Arbor Farms

 Plaintiffs in their purchase of Mare Lease Programs, a commission

 for persuading its clients to participate in the Program.             He also

 drafted or revised the Mare Lease agreements used by ClassicStar,

 occasionally made presentations about the Mare Lease Programs, and

 executed    documents    as   ClassicStar’s    vice-president.        Parrott

 drafted the organizational documents when GeoStar established FEEP

 and prepared the FEEP private placement memorandum (“PPM”) upon

 which various of the participants relied.             He drafted and then

 executed the documents relating to the 2002 drilling program

 offering on behalf of FSW. Finally, Parrott executed the documents

 through which GeoStar contributed certain of its mineral properties

 to Gastar and was often introduced as founder and partner of Gastar

 as in the subscription agreement for the 2002 drilling program.

       Ferguson had an active role as promoter of both the Mare Lease

 Program and the alternative investments.15           He was identified at


       15
         Ultimately, Tony Ferguson urged ClassicStar to “do all [it]
 could to pump as much money into the gas program and drilling gas
 wells as possible.” Anderson testified that Ferguson “mentioned on

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 various times on marketing materials and contract documents as the

 President, Vice-President, or CEO of Gastar and GeoStar, the

 President of FSW, and as the President, Chairman, or the Co-

 Managing member of ClassicStar.             He both promoted the programs

 himself and hired sales representatives and other employees to do

 so and was the individual who directed the payments of commissions

 to Handler Thayer.      Together with Robinson and Parrott.          Ferguson

 was a principal officer of Gastar and held himself out as a Gastar

 representative.     Ferguson also “negotiated” and signed the Buffalo

 Ranch quarter horse leases – after the fact, as explained above.

 Ferguson was touted in FEEP’s PPM as FEEP’s tax partner and a

 member of its advisory committee.

       Robinson, Parrott, and Ferguson did all of this knowing that

 the ClassicStar Mare Lease Program was oversold, knowing that they

 or others were marketing the Mare Lease Program for the “available”

 tax benefits, the true nature of NELC as a captive of ClassicStar,

 and the absence of assets in FEEP.           They attended meetings where

 ClassicStar’s business, including the lack of mares, was discussed,

 received summaries of ClassicStar assets on various occasions, were

 aware of and facilitated the trade outs of interests to accommodate



 several occasions the need to sell horses to use money for oil and
 gas.” David Plummer “lamented on one occasion” to Anderson that
 Ferguson “was taking his money for horses and using it for
 something else, using it for gas.” Anderson testified that Parrott
 put together the ClassicStar sales commission arrangements on
 behalf of ClassicStar.

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 those shortages, and clearly had available to them information from

 which they could draw the conclusion that the programs were never

 intended to provide enough horses to deliver foals (or even the

 chance of foals) to participants.

        David   Plummer     was     GeoStar’s   director       of   marketing      and

 ClassicStar’s head of marketing.            He promoted the combined equine-

 mineral     programs    and   the    Mare   Lease    Programs,         often   making

 presentations to potential investors. As a principal of SOS, which

 operated as Buffalo Ranch, he “leased” (or failed to lease, as the

 case may be) quarter horses to ClassicStar to make up the shortage

 of thoroughbred stock – knowing that quarter horses were never

 intended to be bred for participants.               He helped to put together

 the    schedules,      including    pairings    that    did      not     exist,   for

 participants.

        Spencer Plummer, ClassicStar’s president and also involved

 with SOS, engaged in marketing and showed off ClassicStar’s farming

 operations.    He was also President of ClassicStar Farms from April

 2003   to   February     2006,     during   which    time   it     was    owned   and

 controlled by GeoStar.        He also helped to prepare schedules which

 included “temporary assign[ment] of quarter horses instead of

 thoroughbreds to some of the . . . investors,” with the knowledge

 that “GeoStar was trying to cover this shortage by convincing some

 of these . . . investors . . . to trade their mare lease interests

 to a new entity called FEEP and move into units of gas working


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 interests.”     He encouraged these trades by offering them written

 agreements to do so.       In other words, he was actively marketing

 these Programs knowing that there were not enough horses to meet

 the   commitments    to   participants      and   knowing   that   he   would

 ultimately be encouraging a trade-out of mare lease interests for

 FEEP units to cover the shortage.

         D.   Plaintiffs

         Plaintiffs are entities and individuals who purchased over $37

 million in equine breeding pairings from ClassicStar from 2003 to

 2005.    Specifically, in 2003, the Grovers invested $4.483 million

 and MacDonald Farms invested $7.3 million.            In 2004, Arbor Farms

 invested $7 million, Nelson Breeders invested $2.912 million, the

 Grovers invested $1.1 million, MacDonald Farms invested $4 million,

 and West Hills Farms invested $7 million. In 2005, MacDonald Farms

 invested $3 million.

         Prior to investing, each was presented with an “Illustration”

 of its or their proposed participation, outlining the potential

 return on the investment, the associated tax benefits, and the

 availability of subsequent investments in GeoStar affiliates. Each

 received promotional literature detailing the thoroughbred assets

 owned by ClassicStar and the stock available for breeding. Each of

 these Plaintiffs also signed a Mare Lease Agreement which stated,

 as a term of the agreement, that ClassicStar owned the mares that

 were the subject of the Agreement.


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         Remmers, Sackhoff, and Nelson – as principals of Arbor Farms,

 West Hills, and Nelson Breeders – received, as well, an opinion

 letter authored by accountant Terry Green which “confirmed” the

 validity of the tax deduction for the entire cost of participating

 in the Programs, including that portion of the cost which was

 financed by the loan from NELC. A legal opinion letter prepared by

 the law firm of Handler Thayer purported to exhaustively analyze

 both the Program and the applicable regulations in order to reach

 a conclusion that the Program met all legal requirements.

         Plaintiffs engaged legal counsel to review the program for

 them.        Unknown to Plaintiffs was the fact that these attorneys had

 incentive, through commissions paid by ClassicStar and others

 associated with them, to render a favorable opinion.              Plaintiffs

 MacDonald16 and the Grovers selected the law firm of Handler Thayer,

 and Arbor Farms, West Hills, and Nelson selected the law firm of

 Hanna Strader to opine regarding the availability of the tax

 benefits touted by ClassicStar.             While both firms agreed to

 evaluate the soundness of the program for their respective clients

 and to negotiate the terms of their participation in the Program

 with ClassicStar, neither firm disclosed the fact that they would

 receive “commissions” based on Plaintiffs’ participation in the




         16
         Handler Thayer had represented Lynn MacDonald of MacDonald
 Stables prior to his introduction to the Mare Lease Program and
 brought the Program to his attention.

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 Mare Lease Programs.17

       Further, each of the Plaintiffs funded a portion of their



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          Notably, in its engagement letter with Plaintiffs, Hanna
 Strader disclosed that ClassicStar had retained it in the past to
 represent ClassicStar in connection with tax matters but that at
 the time that it was undertaking representation of these soon-to-
 be-investors, “there [was] not conflict of interest between your
 interests and the interests of ClassicStar nor [did the firm]
 anticipate that such a conflict [would] arise in the future.”
 Hanna Strader did not disclose was that the firm was being paid a
 commission by a third-party promoter of the ClassicStar Mare Lease
 Programs, Anderson, in an amount equal to three percent of the
 amounts that Arbor Farms, West Hills, and Nelson ultimately paid to
 ClassicStar (which represented a portion of Anderson’s own
 commission). David Plummer and Tony Ferguson were aware of this
 arrangement because Anderson, whose company served as a commission
 sales representative for ClassicStar, disclosed to David Plummer
 and Ferguson that he was paying half of the commissions that he
 received to Joe Hanna for referring his clients to the program.
      Further, ClassicStar had a fee agreement with respect to
 opinion letters prepared in advance of inquiries whereby
 ClassicStar would pay Hanna Strader – “on behalf of the client”who
 received the letter and eventually invested – an amount equal to
 two percent of what ClassicStar’s clients ultimately paid
 ClassicStar, with a minimum of $10,000 up to $50,000.         Hanna
 Strader received $150,000 from ClassicStar in connection with
 Sackhoff, Remmers, and Nelson’s decisions to have their companies
 participate and received an additional $420,000 from Anderson in
 connection with Sackhoff and Remmers decision to have their
 companies participate in the Mare Lease Programs.
      Handler Thayer had a similar arrangement, and the firm
 accepted more than $1 million in connection with the Grovers and
 MacDonald’s participation in the Programs. Like Hanna Strader,
 Handler Thayer did not disclose those payments and recommended that
 the Grovers and MacDonald continue to participate in the Mare Lease
 Programs. Further, these arrangements were no secret. Handler
 Thayer’s commissions (or “legal fees” as they were termed after a
 while) for the years 2002-2005 were openly discussed in emails
 dated from 2003 to 2005 by and between individuals from GeoStar,
 Gastar, ClassicStar, and Handler Thayer.      Recipients of these
 emails       included       “sdplummer@classicstar.com,”
 “tferguson@gastar.com,”                “sdplummer@aol.com,
 “spencer@classicstar.com,” and “david@classicstar.com,” among
 others.

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 investment through a loan from NELC.            No one told them, of course,

 that NELC was funded entirely by ClassicStar.                Nor did anyone tell

 them that investments in alternative programs were highly desired

 (indeed, necessary) because there simply were not enough horses to

 go around in the Mare Lease Programs and ClassicStar wanted to

 avoid its contractual liability to provide the pairings or at least

 the type of pairings that it had promised.18

       After substantial payment was received by ClassicStar, each

 Plaintiff    received      a    document   entitled        “Schedule   A,”   which

 purported to identify the specific breeding pairings assigned to

 the receiving plaintiff.            Of course, none of the Plaintiffs were

 told that ClassicStar did not own sufficient thoroughbreds to

 complete    the   number       of   packages   sold   or    that   fictitious   or

 overvalued equine pairings were inserted into their Schedule A

 listings to make them appear full.

       The   specifics   of      each   Plaintiffs’    participation      were   as

 follows.

             1.    MacDonald Stables

       In 2003, Handler Thayer attorneys arranged for Lynn MacDonald,

 a member of MacDonald Farms, to participate in a teleconference



       18
           Clearly, some horses were available.          Plaintiff’s
 accounting expert reports that Arbor Farms received $1.494 million
 in proceeds from the sale of horses. He reports, similarly, that
 the Grovers earned $422,000, West Hills Farms earned $2.43 million,
 Nelson Breeders earned $54,000, and MacDonald Stables earned
 $530,000 in this manner.

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 attended by David Plummer.                During that call, David Plummer

 described        the    basic   attributes       of   ClassicStar’s    Mare    Lease

 Programs, including how thoroughbred mares were leased to investors

 for a breeding season, those mares were bred to proven stallions,

 and the investor would own any foal that resulted from the breeding

 opportunity.       MacDonald then met with advisers from Handler Thayer

 and Ferguson in mid-2003.             Ferguson described the same features of

 the Programs as David Plummer had and explained that GeoStar and

 Gastar were financial backers for ClassicStar.19               Indeed, Ferguson,

 who said that he spoke on behalf of ClassicStar, Gastar, and

 GeoStar, explained that Gastar would purchase the thoroughbred

 mares which would be available for inclusion in any Program

 packages that MacDonald Farms purchased.                Ferguson also explained

 that MacDonald would have the option, in subsequent years, to

 exchange foals or mare leases for mineral assets, including Gastar

 stock, in such a way that would preserve the tax benefits of the

 program.        The touted tax benefit was striking: MacDonald Farms

 would be able to deduct the entire cost associated with the Program

 – including the loan – as a business expense.                To sweeten the deal,

 MacDonald was told that no participant in the Program or its

 predecessor had ever had their deduction disallowed.                   He was not

 told,        however,   that    the   Program    was   the   subject   of     an   IRS


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          Robinson also discussed how GeoStar and Gastar provided
 financial backing to ClassicStar with Lynn MacDonald during a
 meeting in St. Croix. Parrott was also present at that meeting.

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 investigation – which it was.

        During discussions with David Plummer, Ferguson, and advisors

 from   Handler     Thayer,    each     described    to    MacDonald      how   prior

 participants in the Mare Lease Programs had sold foals obtained

 from the Mare Lease Programs for an average 130% pre-tax return on

 their investment.         They also explained that the price of a mare

 lease corresponded to approximately 30% of the value of the mare.

 With respect to that investment, they told MacDonald that a

 reputable lender with experience in the equine business, NELC,

 would provide financing for a substantial portion of the package.

 Lynn MacDonald was never told, of course, that ClassicStar was the

 sole source of funding for NELC.               MacDonald also received an

 Illustration identifying ClassicStar as a “Division of the GeoStar

 Group”   and     which    offered    what   was   supposed    to    be   a   revenue

 projection based on historical returns.                  The document explained

 that there was an option to convert the investment into coalbed

 methane working interests and, eventually, Gastar stock.                     Handler

 Thayer undertook to review those materials and assured MacDonald

 that the tax structure of the Program would deliver the promised

 benefits.      Neither Handler Thayer nor anyone else bothered to

 disclose    to    MacDonald     that    Handler    Thayer     was    receiving     a

 commission     from      ClassicStar    commensurate      with     the   amount   of

 MacDonald Stables’ participation in the Mare Lease Programs.

        Ultimately, based on representations that the Mare Lease


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 Programs would be populated with pairings of thoroughbreds of

 proven   value,    that   MacDonald’s     participation     would       have    the

 particular tax consequences described, and that Gastar would be

 backing the Program financially, MacDonald purchased $14 million

 worth of Mare Leases in the 2003 Program. $1.4 million was wired

 from Wisconsin to ClassicStar in Utah. $5.6 million was wired from

 Wisconsin to NELC in Utah in satisfaction of a note, another

 $300,000 was wired for payment on a note and interest, and 5

 separate checks totaling approximately $212,000 were mailed from

 Wisconsin to NELC in Utah.

       MacDonald received and sent a number of items concerning the

 Mare Lease Programs through the mails, including (1) a July 15,

 2003, letter from Toby Norton, written for ClassicStar, which

 explained the financing for his 2003 Mare Lease Program package,

 (2) an August 1, 2003, letter from Spencer Plummer, again written

 for   ClassicStar,    which    enclosed     an   executed   2003       Letter    of

 Understanding; (3) a September 30, 2003, letter from Mike Snow,

 written for ClassicStar itemizing sums due and sums received with

 respect to MacDonald’s 2003 Mare Lease Program package; (4) a

 December   12,    2003,   letter   from     Mindi   Morashita,    written       for

 ClassicStar,      enclosing   ClassicStar’s         Broodmare    and    Stallion

 Pedigree CD; (5) a December 31, 2003, letter from Mike Snow,

 written for ClassicStar, confirming ClassicStar’s receipt of $5.6

 million from NELC on behalf of MacDonald Stables; (6) a May 28,


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 2004, letter from Spencer Plummer, written for ClassicStar, telling

 MacDonald of the need to sign a Letter of Understanding for 2004

 while inventor was still available; (7) an April 18, 2005 letter

 from Mindi Morashita enclosing a trade out agreement replacing

 quarter horses in MacDonald’s 2004 package with thoroughbreds; (8)

 his own letter returning that trade out agreement, once executed,

 to ClassicStar on April 25, 2003, and (9) a May 5, 2006, letter

 mailed from Florida from Tony Ferguson on behalf of GeoStar

 enclosing a Gastar stock certificate.                 In late 2003 and again in

 early 2004, MacDonald received Schedules describing its assigned

 pairings from ClassicStar’s Utah office by both email and overnight

 courier.

         The Schedule as described included far more pairings than Lynn

 MacDonald       had   expected   based    on    the    selection     process,       and,

 ultimately,      Lynn   MacDonald      objected       to    the   larger   number     of

 presumably less valuable pairings represented on that schedule in

 lieu of the fewer select pairings that he expected.                   Tony Ferguson

 assured him that the matter would be addressed.                       David Plummer

 later    told    MacDonald   that      ClassicStar         temporarily     lacked    the

 thoroughbreds necessary to fulfill its mare lease obligations for

 that year and that he had assigned MacDonald Stables quarterhorses

 again instead of thoroughbreds.            Ferguson arranged for MacDonald,

 who   negotiated      through    its    attorneys      at    Handler,      Thayer,    to

 exchange those pairings for 1,680,890 shares of Gastar stock and


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 units in FEEP.    Ferguson described FEEP, including its association

 with GeoStar and Gastar, to MacDonald, and Lynn MacDonald agreed to

 the substitution, relying on the description of FEEP’s assets, the

 put option, the GeoStar guarantee, and a recommendation received

 from Handler, Thayer.       Of course, the shares were not delivered

 immediately – far from it.         Rather they were delivered eighteen

 months after the agreed upon time for delivery.             The shares were

 then restricted from being sold for one year.

       In 2004, David Plummer assured MacDonald that he would be

 assigned the type of interests in the 2004 Program that he had

 expected to receive in 2003.        MacDonald then purchased $8 million

 of 2004 Program pairings, sending two separate wires from Wisconsin

 to Utah for a total of $4,000,000 and mailing four separate checks

 from Wisconsin to Utah for a total of $164,000, and financing the

 remaining cost with a loan from NELC.          When the Schedule of these

 pairings was received by overnight mail in late 2004, they were not

 the thoroughbred pairings promised. Again by negotiating with

 MacDonald through its attorneys at Handler Thayer , ClassicStar

 agreed to exchange the 2004 leases for additional FEEP            and shares

 of an entity called GeoEquities, which was supposed to have

 additional valuable mineral properties and acquired and traded

 Gastar stock.    MacDonald did not receive the promised Gastar stock

 until well after the delivery date at which time the one year

 transfer restriction began to run.          Further, FEEP did not perform


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 nor did GeoStar honor the guarantee.            After accounting for the

 value received from horses and stock combined, as well as other

 sources, MacDonald suffered out of pocket losses of $4,733,885.68.20

               2.   The Grovers

         David Plummer and Ferguson introduced the Grovers to the Mare

 Lease Program during a series of meetings in late 2002 and early

 2003.        David Plummer and Ferguson again described the basic

 attributes of the Mare Lease Programs, including the lease of

 thoroughbred mares at 30% of their value, a history of favorable

 returns, the financial backing from GeoStar, the opportunity for

 future mineral investments and the realization of substantial tax

 benefits.      The Grovers received an Illustration in October 2003

 which identified ClassicStar as a “Division of the GeoStar Group,”

 and projected 130% appreciation on the horses with options to

 convert equine interests to coalbed methane working interests which

 would then convert to stock.         Based on the representations made,

 the Grovers purchased $8 million worth of what they believed to be

 thoroughbred Mare Leases in the 2003 Program.


         20
          Plaintiffs have, since filing their Motion for Summary
 Judgment, filed an updated expert report in support of their claim
 for damages which they state accounts for monies recovered by other
 means or subsequently paid from various sources.      That updated
 report is the subject of some controversy but no one disputes the
 amount of investment dollars paid in to the Mare Lease Programs by
 the Plaintiffs or the amounts paid back to them by Defendants over
 time.   The loss figures included here reflect the information
 provided by Plaintiffs to the Court by their Notice Supplementing
 the Amount of Damages Sought in Motion for Summary Judgment [DE
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       In early 2004, David Plummer and ClassicStar’s accountant,

 Terry Green, recommended to Grovers that they exchange substantial

 portion of these supposed equine interests for mineral interests

 which they were told represented more diversified strategy for

 generating profits while still preserving the tax benefits of the

 initial participation.      Eventually GeoStar mailed Grovers the FEEP

 PPM which described a put option, the assets supposedly held by

 FEEP, the GeoStar guarantee, and the role of Ferguson and GEEI in

 the management of FEEP.         Relying on these representations, the

 Grovers exchanged a substantial portion of their equine interests

 for FEEP units, ultimately exchanging substantially all of their

 remaining equine interest for an Installment Note from GFSC in the

 amount of $3,796,707, which came due on July 15, 2007. Even though

 the Grovers attempted to exercise the FEEP put option, it has not

 performed, nor has GeoStar performed on the guarantee, nor has any

 payment on the Installment Note been made to the Grovers.

       Meanwhile in late 2004 and in reliance on representations from

 ClassicStar that the 2003 Program was performing as anticipated,

 the Grovers purchased an additional $2.2 million as part of the

 2004 Mare Lease Program. The Grovers exchanged the majority of the

 2004 pairings for FEEP units in early 2005 on terms largely similar

 to the 2004 arrangement. Again, neither FEEP nor GeoStar performed

 on the put or the guarantee, although requested to do so.

       The    Grovers     received     materials     which     repeated     the


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 representations that had been made to them via email, mail, and

 overnight courier, sent from Utah to Nevada.           Jaswinder Grover has

 identified a number of items related to the Mare Lease Program that

 he received through the mail or wires, including (1) an August 25,

 2003, letter from Linda Ridley, written for ClassicStar, enclosing

 a Mare Lease Brochure and CD Packet and a Due Diligence & Mare

 Lease Information Booklet; (2) a December 16, 2003, letter from

 Mindi    Morashita,     written   for   ClassicStar,      enclosing   a   2003

 ClassicStar Pedigree CD; (3) a December 31, 2003, letter from Mindi

 Morashita, written for ClassicStar, and enclosing the Grovers’ 2003

 Mare Lease Agreements and Schedule A; (4) a December 31, 2003,

 letter from Spencer Plummer, on behalf of ClassicStar, providing

 suggestions for how the Grovers’ horse business should be managed

 and concerning material participation; and (5) a December 23, 2004,

 letter from Morashita, written for ClassicStar, enclosing the

 Grovers’ 2004 Mare Lease Agreements and Schedule A of horse

 pairings.      Jaswinder Grover also mailed, from Nevada to Utah, at

 least six separate checks, totaling $5.58 million.

         All   told   the   Grovers   paid   over   $5.5    million    cash   to

 ClassicStar.         They did receive $400,000 from the sale of few

 thoroughbred foals and distributions from racing partnership into

 which ClassicStar transferred certain other foals, as well as

 payments in settlement of this matter from other sources, but

 ultimately have remaining out of pocket losses on their equine


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 investment totaling $3,466,633.68.          As the Court understands it,

 those assets exchanged for mineral interests remain an unrealized

 investment – notwithstanding the promises made and as described

 above.

             3.    Nelson Breeders

       Nelson was first approached by third-party promoter Anderson,

 in late 2003 or early 2004. David Plummer, who represented himself

 as speaking for both ClassicStar and GeoStar, then met with Nelson

 in early 2004.     David Plummer again described the basic attributes

 of the Mare Lease Programs, including the lease of thoroughbred

 mares at 30% of their value, a history of favorable returns, the

 financial backing from GeoStar, the opportunity for future mineral

 investments and the realization of substantial tax benefits, if

 Nelson participated in the Program in the manner prescribed by

 ClassicStar.     Nelson also received an Illustration which outlined

 several conversion options including acquisition of shares in an

 entity called First Energy Partners, Inc., which would then be

 exchanged for Gastar shares.         A second Illustration carried over

 the same representations except that it substituted an entity

 called GeoEquities, LLC, for Gastar.            Nelson engaged Hanna

 Strader to evaluate the Program for him. Hanna Strader produced an

 opinion letter upon which Nelson relied stating that the Program

 could perform as promised by ClassicStar.           Relying on the opinion

 letter and the representations made by David Plummer and others


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 Nelson made payment of $2.9 million to ClassicStar and signed notes

 with NELC totaling another approximately $2.5 million.

         From ClassicStar, Nelson received via mail, email, or over

 night    courier    at    least   seven    pieces    of    correspondence     which

 traveled from Utah to Washington, including (1) Illustrations; (2)

 the ClassicStar Brochure and Breeder’s Handbook; (3) a June 28,

 2004,     letter   from    Boyce    Sanderson       of    ClassicStar   providing

 information about ClassicStar personnel who could help him develop

 his horse business and the requirements of material participation;

 (4) a September 24, 2004, letter from Steve Peck enclosing an

 invoice for payment due on the 2004 Mare Lease Program; (5) a

 December     6,    2004   letter    from    Morashita      enclosing    the    2004

 ClassicStar Mare and Stallion Selection CD; (6) a December 24,

 2004, letter from Morashita enclosing Schedule A pairings for the

 2004 Mare Lease Program; and (7) a December 31, 2004, letter

 acknowledging receipt of $25,088,00 from NELC on behalf of Nelson

 Breeders for payment due on the 2004 Mare Lease Program.

         Nelson received little in return, except for some funds which

 were gained from the sale of single thoroughbred foal and payments

 from others in settlement of claims related to this matter,

 yielding an out of pocket loss currently valued at $1,887,914.40.

              4.     West Hills and Arbor Farms

         West Hills became familiar with ClassicStar’s Mare Lease

 Programs through 2004 presentation by David Plummer and Anderson


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 and    subsequent     meetings    in   which     David     Plummer       and    others

 participated. During those meetings, these individuals represented

 that the prices charged for participation represented approximately

 30% of the value of the thoroughbred mares used in the programs,

 that the projected returns were based on historical performance,

 that   GeoStar’s      financial    backing      gave    ClassicStar          access   to

 substantial assets to support the Program, and that the structure

 of    the   Program    conformed    to    IRS    requirements          and    that     no

 participant had ever had a deduction disallowed.                         Through its

 representatives,       Arbor   Farms     attended      several    of    these    later

 meetings and received the same representations.                  In mid-2004, West

 Hills and Arbor Farms each received an Illustration similar to the

 others which represented that their initial cash purchase would

 generate substantial returns and set forth various conversion

 options.    In July of 2004, West Hills and Arbor Farms each signed

 a letter of understanding for the purchase of $14 million of mare

 lease pairings through the end of 2004. West Hills and Arbor Farms

 paid ClassicStar $7 million and executed an NELC note for the

 remaining $7 million of their purchases.                  Unbeknownst to them,

 their packages would be predominantly filled with fictional quarter

 horse pairings.

        Dennis Sackhoff and Walter Remmers, members of Arbor Farms and

 West   Hills   Farms,    respectively,        would    later     learn       about    the

 inclusion of quarter horse pairings, but they were assured that the


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 values listed were accurate and that the horses existed.             They did

 not know, prior to 2006, that ClassicStar did not own sufficient

 thoroughbreds to fill participant’s packages, that overvalued

 pairings were included in their Schedule A packages, or that NELC

 was funded solely by ClassicStar, among other things. These men

 have identified a number of items received through the mails,

 including their company’s respective Schedules, which were received

 by overnight courier.

       Ultimately, West Hills and Arbor Farms received for their $14

 million    investment    a   few   thoroughbred     foals   with   value    of

 approximately $2.4 million and $2 million, respectively. They have

 since received funds in settlement of their claims from other

 parties, as well.       At present, as presented by Plaintiffs, Arbor

 Farms’ out-of-pocket losses on the investment total $3,323,236.60,

 while West Hills’ net losses come to $3,056.933.51.

 II.   Standard of Review

       Summary judgment is appropriate when “there is no genuine

 dispute as to any material fact and the movant is entitled to

 judgment as a matter of law.” Fed. R. Civ. P. 56(a).               A genuine

 dispute exists if “the evidence is such that a reasonable jury

 could return a verdict for the nonmoving party.”                 Anderson v.

 Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).                  “On summary

 judgment the inferences to be drawn from the underlying facts ...

 must be viewed in the light most favorable to the party opposing


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 the motion.”        United States v. Diebold, Inc., 369 U.S. 654, 655

 (1962).    While the moving party must demonstrate that no genuine

 issue of material fact exists, in response, the non-moving party

 must move beyond the pleadings and present evidence in support of

 its claim.      Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986).

 “Conclusory assertions, supported only by Plaintiff's own opinions,

 cannot withstand a motion for summary judgment.”            Arendale v. City

 of Memphis, 519 F.3d 587, 605 (6th Cir. 2008).



 III. Motion for Sanctions and Request that Adverse Inferences Be
      Drawn

       Plaintiffs ask this Court to draw an adverse inference as to

 certain facts as a result of the decision of the individual

 defendants to invoke the Fifth Amendment privilege against self

 incrimination and to remain silent in the face of discovery in this

 matter.    It was the individual defendants’ right to assert that

 privilege, but it may not be used to unfairly prejudice other

 parties    to   a   civil   action.21     For   this   reason,   a   court   may

 appropriately preclude such a party from offering evidence in

 support of the position whose basis he refuses to disclose, and


       21
       The Plummers and Parrot were the subjects of Criminal Actions
 No. 09-391-HA and No. 10-81-KI in the District of Oregon, in which
 they were charged with the crime of tax fraud for their role in the
 overall scheme alleged in this civil action. Obviously, Ferguson
 and Robinson were circumspect about the possibility of finding
 themselves on the receiving end of an indictment or criminal
 information for their role in the same scheme.

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 adverse inferences against parties to civil actions in the face of

 silence which results from invoking the privilege is permissible in

 certain situations.        See Baxter v. Palmigiano, 425 U.S. 308, 319

 (1976).

       However, adverse inference can only be draw when independent

 evidence exists as to the facts about which the party refuses to

 answer.      See, e.g., Doe ex rel. Rudy-Glanzer v. Glanzer, 232 F.3d

 1258, 1264 (9th Cir. 2000); LaSalle Bank Lake View v. Seguban, 54

 F.3d 387, 391 (7th Cir. 1995).          Defendants insist that, in this

 action, Plaintiffs cannot lay a foundation for each fact on a

 question-by-question basis in deposition or at trial, as should be

 done, to permit the inference to be drawn.             They argue that the

 foundation     could   never   be   laid    because   of   the   arrangement,

 permitted in this case by the Court, whereby Plaintiffs submitted

 lists of subjects about which questioning would take place at

 deposition and in response to which the defendants were to submit

 a declaration identifying any subjects about which they would

 assert the Fifth Amendment privilege against self-incrimination.

 [See Order, dated December 2, 2008, 5:06-cv-243-JMH, DE 285.] At

 the time, the Court intended for the parties to avoid the expense

 and   time    associated    with    arranging   depositions      where   these

 defendants simply asserted the Fifth Amendment privilege against

 self-incrimination in response to every question asked of them,

 which was widely anticipated at the time the issue was addressed by


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 the Court.      The individual defendants’ argument that no adverse

 inference      would    ever    be   permitted       in   the   face    of    such    an

 arrangement seems more than a little too coy to the Court at this

 point.    Frankly, they had their cake, and now they want to eat it,

 too.

        Having considered the pleadings, though, determining whether

 an adverse inference should be drawn would be largely academic at

 this point. Frankly, Defendants has offered no evidence, by way of

 an affidavit or otherwise, to support the existence of a material

 issue of fact or to contradict any of Plaintiffs’ evidence.                      Each,

 in     turn,   has     argued   instead       that    Plaintiffs’      evidence       is

 insufficient to support a finding in Plaintiffs’ favor as a matter

 of law.    Certainly, the lack of affirmative evidence, coupled with

 his own assertion of a privilege against self-incrimination in

 response to the allegations against him, could warrant judgment in

 Plaintiffs’ favor, see, e.g., City of Chicago v. Wolf, No. 91-C-

 8161, 1993 WL 524383, at *3 (N.D. Ill. Dec.13, 1993)                         (granting

 summary judgment on all but one issue where evidence support

 plaintiffs’     RICO     claims      and   all    defendants    had    invoked       the

 privilege against self-incrimination in response to substantive

 allegations and one defendant had pled guilty to facts supporting

 RICO violations in criminal matter), but the evidence presented by

 Plaintiffs stands on its own without the inference.                    So, the Court

 leaves the issue of whether an adverse inference should be drawn


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 for another day.

       Similarly, with respect to Plaintiffs’ request that the Court

 sanction GeoStar and GFSC for their failure to participate in

 certain aspects of the discovery process by prohibiting them from

 bringing evidence or defending the case against them, the Court

 need not reach a conclusion today. Plaintiffs can obtain relief on

 their claims which are before the Court in the present Motion for

 Summary Judgment without such a decision, so – for the moment – the

 Court declines to issue the sanction requested.

 IV.   Impact of the Guilty Pleas of Defendants David and Spencer
       Plummer and John Parrott

       Defendants David and Spencer Plummer and John Parrott have

 pleaded guilty to conspiracy to defraud the United States by

 impairing and impeding the United States Revenue Service, in

 violation of 18 U.S.C. § 371, in proceedings before the United

 States District Court for the District of Oregon, Criminal Actions

 No. 09-391-HA and No. 10-81-KI.        These criminal cases stemmed from

 the same overall scheme which is the subject of the present

 lawsuit.

       A guilty plea is an "admission of all the elements of a formal

 criminal charge."      United States v. Skinner, 25 F.3d 1314, 1316

 (6th Cir. 1994) (quoting McCarthy v. United States, 394 U.S. 459,

 466 (1969)).     Thus, when a defendant pleads guilty, he admits and

 is estopped from relitigating the material facts alleged in the



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 information or indictment, and a plaintiff is entitled to introduce

 pleas from criminal cases in subsequent civil cases to establish

 "all    matters     of    fact    and   law       necessarily   decided    by     the

 conviction."      Emrich Motors Corp. v. Gen. Motors Corp., 340 U.S.

 558, 569 (1951); see also Gray v. Comm'r, 708 F.2d 243, 246 (6th

 Cir. 1983) (defendant estopped from denying liability in a civil

 suit for tax fraud after pleading guilty to tax evasion in prior

 criminal action arising out of same conduct); SEC v. Quinlan, No.

 02-60082,    2008    WL   4852904,      at   *4    (E.D.   Mich.   Nov.   7,    2008)

 ("Collateral estoppel bars 'successive litigation of an issue of

 fact or law actually litigated and resolved . . . even if the issue

 recurs in the context of a different claim.'") (quoting Taylor v.

 Sturgell, 553 U.S. 880, 892 (2008)).                 The doctrine of collateral

 estoppel may be used offensively by a litigant who was not a party

 to a prior proceeding, and the doctrine extends to those facts and

 law "distinctly put in issue and directly determined in the

 criminal prosecution."           Emrich, 340 U.S. at 569; see also Columbia

 Pictures Indus., Inc. v. T&F Enters., Inc., 68 F.Supp.2d 833, 839

 (E.D. Mich. 1999) (offensive use of collateral estoppel was proper

 in civil case where defendant pled guilty to copyright offense in

 prior criminal action; mutuality of parties not required).

        Hence, the Court treats the admissions of the Plummers and

 Parrott, i.e., the matters of fact and law necessarily decided, at

 the time they entered their guilty pleas as established for the


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 purposes of this litigation with respect to the individuals making

 those admissions.      None of the parties dispute that the Court can

 do so.22   What the Plummers and Parrott do contest, though, is what

 facts and law were “necessarily decided by the conviction” and

 argue that it should only include the very words recited at the

 hearing or written in their plea agreement documents.

       Those documents alone are damning, but the Court believes that

 it is fair to consider, as well, the facts that the government



       22
         Indeed, the Court has a hard time imagining a situation in
 which it would be more appropriate to do so. The conspiracy which
 was the subject of the Plummers and Parrott’s guilty pleas in the
 criminal fraud case      “was an integral part of the entire
 connivance” against these Plaintiffs, and the harm caused here was
 “an immediate consequence” of the defendant’s misrepresentations
 and false promises. Further, the conspiracy, as described in the
 charging documents with respect to the Plummers and Parrott mirrors
 that described in detail by the plaintiffs in this case.        The
 elements of that crime are (1) the existence of an agreement
 between two or more persons to defraud the United States; (2)
 defendant’s knowing participation in the conspiracy; and (3) the
 commission of an overt act in furtherance of the conspiracy, as
 well as the fact that the conspirators had an “agreement as to the
 ‘object’ of the conspiracy.” United States v. Rosenblatt, 554 F.2d
 36, 38, 42 (2d Cir. 1977). It is necessary that the prosecution
 “plead and prove an agreement with respect to the essential nature
 of the alleged fraud,” id., because “the gist of the offense
 remains the agreement, and it is therefore essential to determine
 what kind of agreement or understanding existed as to each
 defendant.” Id. at 39.
      The “essential nature” of the fraud which was the subject of
 the criminal action is identical to that described in Plaintiffs’
 Fourth Amended Complaint and demonstrated by competent proof in the
 present motion.     In addition to the Plummers and Parrott,
 ClassicStar, GeoStar, NELC, FEEP, SOS/Buffalo Ranch, FSW, and
 Gastar are identified as part and parcel of the scheme in which
 Mare Lease Programs were oversold and investments in those oversold
 programs financed by a purportedly independent NELC, which was
 actually funded and controlled by ClassicStar.

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 stated it could prove if asked to do so and to which the Defendants

 did not object.

       When the Plummers entered their guilty plea, the government

 explained that it could prove a variety of things, none of which

 were disputed by the Plummers:



             . . . [A]mong the means by which these
             defendants conspired to defraud the United
             States [of] significant tax revenues is:

             One, they drafted or caused to be drafted
             fraudulent  quarter  horse  mare  leasing
             agreements.

             Two, they encouraged investors to participate
             in a subsequent investment in something called
             [FEEP], which was an artificial entity whose
             principal purpose was to extinguish loans that
             never really exist[ed] and cover up the lack
             of thoroughbred mares.

             Three, they concealed the fact that they were
             funneling a large part of the money from this
             Mare Lease Program to the parent company’s
             bank accounts for purposes unrelated to the
             breeding of these thoroughbred mares.

             Fourth, the caused law firms to prepare
             favorable tax opinions and distribute those
             opinions to investors.

             Fifth, they caused investors . . . to file tax
             returns that were false.


       Its list of proof included evidence to support the 54 overt

 acts listed in the charging document, among which (1) that, on

 September 7, 2001, accountant Terry Green sent a tax opinion letter

 concerning the Mare Lease Program to David Plummer and (2) that, on

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 December    5,    2003,   Green   sent        an   email   to   the   ClassicStar

 controller, with copies to Spencer Plummer, describing the need for

 ClassicStar to fund the artificial loans or recycling of money from

 ClassicStar to NELC to the investor and back to ClassicStar.                    The

 government also stated on the record that it could demonstrate that

 on March 8, 2004, Spencer Plummer participated in a conference call

 in which he attempted to reassure an investor’s financial adviser

 that, while ClassicStar was purportedly not affiliated with NELC,

 the owner and operator of NELC was his uncle and that he could be

 controlled; that (4) that David Plummer had met with investors in

 Portland in March and June of 2004; and (5) that on May 25, 2005,

 Green   sent     an   email   message    to    Spencer     Plummer    and   another

 ClassicStar employee in which he said that he IRS had requested the

 investors original Schedule A and that they needed to “work back

 and prepare it.”

       David Plummer, when asked what he was admitting that he did

 “in [his] words,” stated:

             I am guilty of assisting people to take tax
             deductions, which they would not have been
             entitled to under a full disclosure basis with
             the Government or with anyone who looked at it
             closely.

 He also stated that he “agreed with [Spencer Plummer and Green] and

 people of GeoStar and ClassicStar that this did happen; that we did

 conspire.” In his Petition to Enter Plea of Guilty, however, David

 Plummer went into more detail, about his own actions and his


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 complicity with others, as follows:

             In 2000 and 2001 I sold my mare-lease business
             to individuals involved in the oil and gas
             business, the owners of GeoStar. I continued
             to work for them in the mare-lease business,
             primarily responsible for sales.     With new
             capital in the business it grew rapidly,
             increasing more than 10 fold in the first year
             under new ownership. The new owners wanted to
             take money from the mare-lease business to use
             in oil and gas ventures and I went along with
             that. The investors were not told that more
             than half of the cash they paid for mare lease
             programs was transferred to oil and gas
             programs in which the mare lease participants
             had no legal interest.

             Additionally, up to half of each participant’s
             investment was a loan. Borrowed funds could
             support a tax deduction, but only if there was
             really a loan from an unrelated financial
             institution.     Using NELC, a controlled
             financial entity, GeoStar orchestrated a
             series of paper transactions where the cash
             contributed by the investor was essentially
             loaned back to him. This had the effect of
             doubling the deductible investment without
             having the additional money at work in the
             business.

             A third problem with the mare-lease business
             was the insufficient inventory of mares to
             fill the contracts the participants had
             bought.   While Classicstar bought many high
             quality horses, it did not keep pace with the
             sales of mare-lease programs.   For the most
             part, the investors were not made aware of
             this shortfall.

             Each of these three problems, if known to the
             IRS, would have impacted the deductibility of
             the mare lease investments. Classicstar was
             operated in a way to keep the investors and
             the IRS from knowing about any problems that
             would have impacted deductibility.

       Spencer   Plummer,    in   his   guilty    plea   to   the   charge   of

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 conspiracy, admitted that he was President of ClassicStar Farms

 from April 2003 to February 2006 during which time Classicstar

 Farms “was owned and controlled by GeoStar.” Through that position

 he “met with investors/breeders who wanted to participate in

 ClassicStar’s Mare Lease Program, and offered them assistance.” He

 also admitted that investors who took out loans did so through

 NELC, “an entity that was controlled by ClassicStar and its parent

 company GeoStar.”      He admitted further actions, stating:

             I was aware that GeoStar was taking most of
             the operating capital from ClassicStar and not
             providing sufficient funds to buy thoroughbred
             horses to meet on-going breeding commitments.
             I helped temporarily assign quarter horses
             instead of thoroughbreds to some of the
             breeder/investors. I also knew that GeoStar
             was trying to cover this shortage by
             convincing some of these breeder/investors to
             trade their mare lease interests to a new
             entity called FEEP and move into units of gas
             working      interests.      I     encouraged
             investors/breeders to do this by offering
             written agreements, but GeoStar never really
             funded FEEP nor did it actually exchange
             anything of value to the investors.

 In other words, he admitted his own acts and complicity with others

 in the commission of acts by them as alleged in the charging

 document.

         John Parrott stated in Paragraph 24 of his Plea Agreement

 that:

             As Vice President of GeoStar Corp. Between
             approximately 2001 and 2009, I assisted in the
             preparation of documents and other activities
             designed, pursuant to conversations and
             agreements with others, to allow taxpayers to

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             take deductions to which they were not
             entitled, relating to their investments in the
             ClassicStar Mare Lease Program and related
             endeavors.


       Parrott admitted in his guilty plea that, between 2001 and

 2009, he knowingly and intentionally conspired with others to

 defraud the United States by impeding the Internal Revenue Service

 in its collection of income taxes and that he personally committed

 “a number of overt acts in furtherance of” that conspiracy.               Much

 as with the Plummers, the government stood ready to prove those

 overt acts.      Thus, when he admitted that he assisted             “in the

 preparation    of   documents     and   other   activities,     pursuant    to

 conversations and agreements with others, to allow taxpayers to

 take deductions to which they were not entitled, relating to their

 investments in the ClassicStar Mare Lease Program” in furtherance

 of the conspiracy, he admitted his complicity in those overt acts.23

       In reality, the parties have no reason to object to the

 Court’s judicial notice of the charging documents against them or

 their guilty pleas, for they do not suggest that either the


       23
       The Information against Parrott describes how GeoStar
 effected “massive diversions of funds from ClassicStar” and
 arranged for investors to trade their interests in the Mare Lease
 Programs which were, like the oversold Mare Lease Programs,
 effectively non-existent because GeoStar did not convey the
 interests to FEEP.       It also describes how GeoStar moved
 approximately $330 million in Mare Lease Program sales proceeds
 from ClassicStar’s accounts to its own bank accounts then used the
 money to fund ClassicStar’s operations, oil and gas operations for
 itself and its subsidiaries and related entities, including Gastar,
 and for the personal enrichment of GeoStar’s principals.

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 contents   of    the    Information    (or,   for    that    matter,     his   Plea

 Agreement) are not “capable of accurate and ready determination by

 resort to sources whose accuracy cannot reasonably be questioned,”

 as permitted under Fed. R. Evid. 201(b) and required by Fed. R.

 Evid. 201(d) (“A court shall take judicial notice if requested by

 a party and supplied with the necessary information.”).                   Rather,

 each truly objects to the relevance or legal conclusions that can

 be drawn from the facts drawn from their pleas and the charging

 documents.

       All told, these Defendants are correct.                 Their admissions

 during their plea agreements do not refer specifically to the

 Plaintiffs in this case, even when the larger universe of factual

 material from the charging documents lodged against them are

 considered. Their admissions are, however, extremely probative and

 offer support for Plaintiffs’ allegations about these Defendants’

 overall involvement in the scheme alleged in the Fourth Amended

 Complaint,      and    the   facts   certainly      lend    themselves    to   the

 resolution of the claims against the Plummers and Parrott by

 Plaintiffs.      See, e.g., Stirum v. Whalen, No. 90-CV-1279, 2000 WL

 976881, at *4-5 (N.D.N.Y. July 12, 2000) (court considered tax

 fraud scheme, as a whole, set forth with detail in indictment to

 which party had pleaded guilty, and concluded that guilty plea to

 tax fraud resolved issues in civil complaint by investors against

 the defendant because, that fraud was “an integral part of the


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 entire connivance” against the civil plaintiffs).

       The Court therefore, takes notice of these guilty pleas,

 pursuant to Fed. R. Evid. 201(b) and (d), and considers the

 admissions    of   the   wrongdoing    which   was   the   subject    of   the

 proceedings against the Plummers and Parrott before the United

 States District Court for the District of Oregon, Criminal Actions

 No. 09-391-HA and No. 10-81-KI. The Court will consider the facts,

 so admitted, as conclusively established for the purposes of this

 action.    The Court takes notice only of those facts to which the

 Plummers and Parrott have admitted and only to the extent that

 those facts implicate the Plummers and Parrott – as opposed to

 third parties.24

       That said, the Court these admissions and pleas, even with

 such limited consideration as described above, are admissible and

 relevant as to the other defendants so long as the activities of

 the Plummers and Parrot are relevant to the averments against them.

 See Conn. Gen. Life Ins., 60 Fed. Appx. at 88 (district court, in

 entering summary judgment against defendant on plaintiff’s RICO

 claims, appropriately considered indictments and pleas of co-

 defendants where the indictments and pleas described the “scope and

 details of the fraud” and were therefore “extremely probative to


       24
         The Court finds itself in good company in this regard for
 the district court in Great American Ins. Co. v. GeoStar Corp.,
 Nos. 09-12488, 09-12608, 09-14306, 2010 WL 845953, at *18 (E.D.
 Mich. March 5, 2010), took notice of the records of the criminal
 proceedings against the Plummers for the same reasons.

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 illustrate a ‘pattern of racketeering activity.’”).

 IV.   Analysis

       A.     Plaintiffs’ RICO Claims

       Plaintiffs     argue     in        their    Motion     that     they        are due

 relief from RICO Defendants          Ferguson,       Robinson,      Parrott,           David

 Plummer, Spencer Plummer, ClassicStar                2004,    ClassicStar             Farms,

 and   GeoStar,   together,     for       injuries    sustained       to    Plaintiffs'

 business and property due to violation of the Racketeer Influenced

 Corrupt Organizations ("RICO")             statute,    18 U.S.C. §§ 1962(c) and

 (d), by these RICO defendants and others.25                  As set forth below,

 Plaintiffs have established their claim.

       18     U.S.C. § 1962(c) makes it unlawful "for any person

 employed by or associated       with        any    enterprise       engaged       in,    or

 the activities of which affect, interstate or foreign commerce, to

 conduct or participate, directly or               indirectly,    in       the    conduct

 of    such   enterprise's affairs through a pattern of racketeering

 activity or collection of unlawful debt." Under 18 U.S.C. § 1964,

 "[a]ny person injured in his business or property by reason of                               a

 violation of [§] 1962 of this chapter may sue therefor . . .and

 shall recover      threefold    the        damages     he    sustains           and    the

 cost of the suit, including          a    reasonable       attorney's fee. . . ."

       25
         Although Plaintiffs’ Fourth Amended Complaint also avers
 a violation of 18 U.S.C. § 1962(a), Plaintiffs have not requested
 summary judgment on that claim. Obviously, as well, the Court has
 omitted ClassicStar and Gastar from this list, for the claims
 against them have been resolved by agreement of the parties.

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 In order to demonstrate a violation                of    18 U.S.C. § 1962(c) and to

 recover under § 1964, a plaintiff must show:

                (1) [that] there were two or more predicate
                offenses; (2) the existence of an enterprise
                engaged in or affecting interstate or foreign
                commerce;    (3)   a   nexus    between  the
                pattern of racketeering      activity and the
                enterprise; and (4) an injury to his business
                or property by reason of the above.

 Frank     v.    D'Ambrosi,      4 F.3d 1378, 1385 (6th Cir. 1993) (citing

 Beneficial Standard           Life   Ins.    Co.    v.     Madariaga,   851 F.2d 271,

 274 n. 5 (9th Cir. 1988)).

         The    undisputed       material facts presented to this Court by

 Plaintiffs demonstrate           that       each    of     these     defendants,     as

 RICO     "persons," acted culpably                 under       the   statute.      There

 existed an organized enterprise, the ClassicStar                         Enterprise,

 engaged        in   or    affecting interstate commerce in which                   each

 "person"       played     a    specific      role       with    a    defined    area of

 responsibility           in conducting the enterprise's affairs, i.e.,

 promoting and perpetuating the mare lease programs, alternative

 investments, and collecting funds to use for oil and gas programs,

 through a pattern of racketeering activity, i.e., mail and wire

 fraud, ultimately injuring each Plaintiffs' business and property.

         Plaintiffs have identified the requisite number of predicate

 offenses and then some, the interstate nature of the enterprise,

 the connection between the pattern of racketeering activity and the

 enterprise, and injury by means of the fraudulent investment


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 scheme.     They have also successfully navigated their way through

 the more peculiar requirements of a claim under RICO.              They have

 identified RICO "persons" that are distinct from the "enterprise"

 itself and, thus, liable for wrongs              committed     under     the

 statute.    They have brought forth adequate proof of the existence

 of an enterprise in addition to the pattern of racketeering

 activity.     Thus,   Plaintiffs are entitled to judgment           against

 Defendants    Ferguson,    Robinson, Parrott, David Plummer, Spencer

 Plummer, ClassicStar 2004, ClassicStar Farms, and GeoStar on their

 RICO claims.

       1.     Plaintiffs Have Identified a Pattern of Racketeering
              Activity and a Fraudulent Scheme

       The court first turns its attention to whether Plaintiffs have

 identified a pattern of racketeering activity because a fraudulent

 scheme and the predicate acts of mail and wire fraud are first and

 foremost required for their claim to succeed.                Plaintiffs must

 demonstrate that the RICO "persons" conducted the affairs of the

 enterprise through a pattern of racketeering activity, i.e., at

 least two acts of racketeering activity within a ten-year period,

 including any act indictable under 18 U.S.C. §§ 1341 or 1343, the

 federal mail and wire fraud statutes.          18 U.S.C. § 1961(1), (5).

 18 U.S.C. §§ 1341 and 1343 make it unlawful for a person who has

 "devised or intended to devise any scheme or artifice to defraud,

 or for obtaining money or property by means of false or fraudulent

 pretenses, representations, or promises" to use the mails or wires

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 "for the purpose of executing such scheme or artifice."

       A fraudulent scheme may be demonstrated by proof that it was

 reasonably calculated to deceive persons of ordinary prudence and

 comprehension, and communications of half-truths and concealment of

 material facts are both actionable.          See Irwin v. United States,

 338 F.2d 770, 773 (9th Cir. 1964); United States v Beecroft, 608

 F.2d 753, 757 (9th Cir. 1979).        Further, each defendant is liable

 whether or not that person personally made any misrepresentations.

 See 18 U.S.C. §§ 1341, 1343; Murr Plumbing, Inc. v. Scherer Bros.

 Fin. Servs. Co., 48 F.3d 1066, 1069 (8th Cir. 1995) ("a RICO

 violation based on the predicate acts of mail or wire fraud does

 not require an allegation of misrepresentation or common law fraud

 . . ."; plaintiff may establish the existence of a scheme to

 defraud coupled with forseeable use of the mail or wires); Grange

 Mut. Cas. Co. v. Mack, Civil Action No. 6:06-555-DCR, 2009 WL

 1036092, at *7-8 (E.D. Ky. Apr. 17, 2009) (defendant attributed

 with submitting fraudulent bills to insurance companies when she

 directed employees to do so).        Nor does each defendant have to be

 "a mastermind of the scheme to defraud; proof of a defendant's

 willful participation in a scheme with knowledge of its fraudulent

 elements is sufficient," and a defendant is not "exonerated by the

 fact that he may have participated in a scheme to a lesser extent

 than others."    United States v. Stull,       743 F.2d 439, 442 (6th Cir.

 1984).     Further, "where sufficient circumstantial evidence is


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 presented, [the fact finder] may properly infer that the defendant

 was culpably involved from his conduct, statements, and role in the

 overall operation."         Id. at 441.

        Evidence       linking   each    defendant     with    a    scheme    in   which

 misrepresentations         were   made     establishes       the   existence        of   a

 predicate act of mail or wire fraud as to that defendant.                     Thus, in

 Beecroft,       the    defendants      were   convicted      of    mail     fraud    and

 conspiracy to commit mail fraud where it was found that "each

 defendant made, or permitted or encouraged others to make, false

 misrepresentations."            Beecroft, 608 F.2d at 756.             The Beecroft

 defendants were officers in a company that purported to assist

 inventors with marketing and promoting their inventions, charging

 them fees for their services.             Id. at 755.        While the company had

 never marketed an invention successfully, it included misleading

 photographs and success claims in its brochures.                    Id. at 755-56.

 One of the defendants merely participated in meetings where the

 fraudulent brochures were discussed and approved and "expressed no

 disapproval and took no action to prevent the dissemination of the

 misrepresentations," even though he had the authority to question

 them   as   a    corporate      officer.        Id.   at   759.      Such     evidence

 "demonstrated his knowing involvement in the fraudulent scheme."

 Id. at 760.

        In the series of transactions described by Plaintiffs, the

 Court is hard put to find a representation made about the Mare


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 Lease Programs and subsequent investments that was truthful.               The

 lion's share of the investments were ultimately illusory (although

 the Court cannot ignore that some thoroughbred breeding actually

 occurred), the descriptions provided to investors omitted crucial

 facts, and, in large part, no one intended for the opportunities

 described to be realized.       ClassicStar made a series of contracts

 with Plaintiffs to provide thoroughbred breeding pairings and

 stated, as a term of that agreement with each Plaintiff, that it

 owned the thoroughbreds that would populate the Mare Lease Programs

 in which the plaintiffs had invested. Yet, ClassicStar never owned

 enough thoroughbreds to populate the Programs it sold.                Indeed,

 instead of the valuable thoroughbreds it promoted, ClassicStar

 consistently assigned Plaintiffs unnamed (and, as far as the

 evidence before this Court is concerned, non-existent) thoroughbred

 pairings or quarter horse breeding pairings of lesser value as part

 of their Programs.        In either instance, the pairings, real or

 imagined, did not have nearly the value in relationship to the

 investment dollars paid in to ClassicStar as had been advertised.

 Further, the evidence shows that, even when named quarter horse

 pairings were assigned, Defendants never intended to deliver those

 interests actually provided.          The quarter horses listed on the

 schedules did not belong to ClassicStar and were never actually

 leased, except on paper and as an afterthought, to ClassicStar by

 the Plummers, who did own them.


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       Contrary   to   representations       made   about   the   tax   benefits

 enjoyed by participants and past allowances of the Program's tax

 benefits by the IRS, at least one participant's deduction had been

 disallowed.    Further, no one revealed that David Plummer's earlier

 version of the operation had been raided by the IRS and that the

 IRS was investigating ClassicStar’s Mare Lease Program as an

 abusive tax shelter as early as 2004.              Further, and as part of the

 represented tax strategy associated with and touted alongside the

 investment in the Mare Lease Program, Plaintiffs' initial loans

 were supposed to be placed with an independent company so that

 their full amount could be deducted as part of the investment, but

 they were, instead, placed with NELC, which was controlled and

 funded by ClassicStar and GeoStar.           The "loan" moved through the

 accounts, from ClassicStar to NELC and back to ClassicStar, within

 a day or so.

       GeoStar then offered participants the option to exchange

 equine interests for oil and gas working interests and, later, FEEP

 units, and ClassicStar, the Plummers, and the other individual

 defendants played a part in encouraging that exchange, providing

 the mechanism (the shell, the paperwork, etc.) by which that would

 occur, and closing the "sale."         Much like the breeding programs,

 the working interests for which exchanges were made were oversold,

 the FEEP units were never actually backed by assets, and – in fact

 – FEEP never operated.       Further, even though GeoStar "guaranteed"


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 FEEP's promise to buy back Plaintiff's membership interests, it

 never made good on that promise.                GeoStar also committed to buying

 back   mare    lease       packages     by    offering       promissory    notes   from

 subsidiaries – subsidiaries that had no cash or assets other than

 unpaid accounts receivable from other GeoStar related entities.

        Plaintiffs have testified that they relied on Defendants'

 representations about the Mare Lease Program and these alternative

 investments     and    that      they    would       not   have   made    the   initial

 investment, agreed to exchange their investment methods, or stayed

 invested in the Mare Lease Programs and alternatives for the time

 that they did, had they known the truth about the Program.                          But

 none of these realities – the underpopulation and overvaluation of

 the    Mare    Lease       Programs,      the       issues    with   the    IRS,     the

 not-so-independent lender, the overselling of the working units in

 oil and gas interests, the lack of assets actually available in

 FEEP – were revealed to            Plaintiffs.         And the misrepresentations

 having   been       made    to   secure       their    investment,       invest    these

 Plaintiffs did, paying Defendants handsomely for the opportunities

 advertised. Whether Plaintiffs really wanted a chance to strike it

 rich   in     the    equine      industry,      an    opportunity    to     ultimately

 participate in the oil and gas industry, or simply to obtain the

 tax benefits promoted as a reason to participate in the Mare Lease

 Program or the investment alternatives (this being one of the rare

 cases where a loss can be as valuable as a win, depending on your


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 personal wealth, as the Court understands it), they relied on the

 representations and misrepresentations made before paying for that

 opportunity.

       Further, Plaintiffs have identified no fewer than thirty-seven

 uses of the mails and wires for the purpose of executing the

 fraudulent scheme or artifice within a three year time frame which

 create a pattern of racketeering activity, ranging from letters,

 checks, and other items sent through the mails (either by means of

 the United States Post Office or private or commercial interstate

 carrier, as provided for under 18 U.S.C. § 1341) and large sums of

 money wired in interstate transmissions on at least 3 occasions.

 Among those were invoices and accountings, and mailings used to

 collect the proceeds of a fraudulent scheme or made by the scheme's

 victims may satisfy the requirement of mailing, as may mailings or

 use   of    the   wires,     even   after    payment,      to   lull    victims   into

 complacency.        Here, Defendants used or caused to be used the mail

 or wires to send to Plaintiffs those illustrations describing the

 Mare Lease Program, promotional brochures explaining the Mare Lease

 Program,      Letter     Agreements,        Mare     Lease      Agreements,       other

 correspondence       about    payments      due    and   summarizing     income    and

 expenses paid by each Plaintiff, Schedules describing assigned

 breeding pairings, and letters confirming receipt of payment.                      The

 Plaintiffs, themselves, used the mail and wires to make payments

 for   the    mare    lease    interests      and    send     executed    mare     lease


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 agreements from their homes in Washington, Oregon, Wisconsin, and

 Nevada, to ClassicStar or GeoStar offices in Utah or Michigan.

 Indeed, ClassicStar agent Morishita has confirmed that ClassicStar

 primarily communicated with its clients by email or mail.

         As for the intent of the Defendants, the Court concludes from

 the circumstantial evidence that they knew or – at the very best –

 recklessly disregarded the fact that the Mare Lease Program was

 represented as a viable program with sufficient stock to meet its

 obligations, even though it could not.          Spencer and David Plummer

 have admitted that they knew there were not enough horses to

 populate the Mare Lease Programs sold, yet they sold the Programs

 anyway, even knowing that GeoStar was making massive transfers of

 funds     from   ClassicStar,     leaving     it   undercapitalized,       and

 orchestrating loans through NELC to encourage more investments in

 Mare Lease Programs that were oversold. GeoStar and its principals

 owned and controlled ClassicStar, and GeoStar agents maintained

 ClassicStar's general ledger, had exclusive control and signatory

 authority    over   ClassicStar    accounts,    and   –   most   tellingly   –

 received more than $114 million in mare lease revenues.                    The

 knowledge and intent of GeoStar's officers and agents is imputed to

 them, and Ferguson, Robinson, and Parrott were all in attendance at

 executive meetings where ClassicStar's business was discussed.

 They also received summaries of ClassicStar's assets and, knowing

 what they had to have learned from that data about the absence of


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 stock to support the sales of Programs made, they all attended and

 participated in sales presentations.

       As described in the facts above, each of the Defendants

 participated in and furthered the scheme to defraud Plaintiffs and

 were part of an association-in-fact enterprise.             ClassicStar was

 the marketing vehicle, GeoStar directed the finances, GeoStar and

 Gastar organized and held (or purported to hold) the mineral

 portions of the combined programs and provided financial clout to

 reassure investors, NELC was the not-so-independent lender, and

 FEEP, GFSC, and other shell companies disguised the overselling of

 the Programs and staved off the discovery of the fraud and the

 fall-out.     Ferguson, Robinson, and Parrott were the owners and

 principals of GeoStar and controlled it.             Since they controlled

 GeoStar     and   GeoStar    controlled      ClassicStar,    they    likewise

 controlled ClassicStar.       But their involvement did not stop there,

 for these men were shapeshifters when it came to the enterprise.

 At various times, these men represented themselves to Plaintiffs as

 officers of GeoStar, Gastar, or ClassicStar, or some combination of

 these entities.      The evidence is such that the Court can easily

 conclude that each of these individuals was aware of the plan and

 the misrepresentations (as well as the likelihood and reality that

 the mails and wires would be used during the scheme).

       The   Court   concludes     that,     over   the   three   year   period

 described, from 2003 through 2006, the pattern of racketeering


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 activity, i.e., defendants's predicate acts of mail and wire fraud,

 were related and continuous and continued for a sufficiently long

 period of time.       In each instance, the defendants used or intended

 the use of the mails or the wires in an effort to gain investments

 to use for their own purposes and not to provide the bargained for

 opportunities to Plaintiffs (and others).              See H.J. Inc. Nw. v.

 Bell Tel. Co., 492 U.S 229, 239-40 (1989) (predicate acts are

 sufficiently related when they have the same or similar purposes,

 results, participants, victims, or methods of commission or are

 otherwise interrelated by distinguishing characteristics and are

 not isolated events). The conduct was repeated over and over again

 – the same presentations and representations made to the various

 plaintiffs, the same types of mailings made, and the repeated

 expectation that money would be transferred to ClassicStar by the

 mail and wires.       Id. at 241-42 (continuity can be established by

 showing closed period of repeated conduct or past conduct that by

 its nature projects into the future with threat of repetition).

 Further, each mailing or use of the wires constitutes a separate

 violation.     See In re Best Distribution Co., 576 F.2d 1360 (9th

 Cir. 1978).      Here, there is evidence of multiple mailings and

 frequent   use   of    the   wires   (far    more   than   the   two   instances

 required) in furtherance of the scheme within the relevant 10-year

 time period.

       Plaintiffs have alleged more than a dozen predicate acts


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 comprised of fraudulent communications by mail and wire, both among

 the defendants, from the defendants to the plaintiffs, and from the

 plaintiffs to defendants.         Whether through the marketing materials

 describing the Programs, the initial contract documents which

 obligated Plaintiffs to participate in the Programs or the payments

 made by Plaintiffs from which each of these defendants directly

 benefitted, Defendants acted with the intent and the knowledge that

 the mails and wires would be used in this way to further the

 scheme. They also acted with a common purpose to induce Plaintiffs

 to participate in and to remain in the Mare Lease Program or the

 alternative investments.           These acts over the period of time

 described are enough to establish the requisite continuity of the

 activity. See, e.g., Brown v. Cassens Transport Co., 546 F.3d 347,

 355 (6th Cir. 2008) (series of related predicate acts spanning over

 period      of   three    years    constituted       period        of   closed-ended

 continuity).

       As set forth above, these corporate and individual defendants

 knowingly participated in a scheme to defraud Plaintiffs and acted

 from the beginning with knowledge of the common purpose to utilize

 the Mare Lease Program as a mechanism to finance development of oil

 and   gas    properties.        Plaintiffs    have    established         that   each

 defendant was an integral part of the enterprise without which the

 primary     goal   of    the   enterprise    would    not     be    accomplished.

 Plaintiffs have established as set forth in detail above that at


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 various times throughout the scheme each defendant either made

 decisions on behalf of the enterprise or knowingly carried out

 those       decisions.      In    addition       to    the   involvement    of     the

 corporations in providing the investments, the loans, the funding,

 the transfer of funds, and other activities, the Plummers have

 admitted to promoting the Mare Lease Program with knowledge of the

 lack of horses to support the commitments to Plaintiffs.                    Robinson

 took every action described while keenly aware of the finances and

 the undercapitalization of ClassicStar considering its obligations.

 Parrott       reviewed    and    approved        marketing   materials     used     by

 ClassicStar including the attorney opinion letters, and Ferguson

 personally promoted and hired sales representatives.                     Plaintiffs

 relied upon the representations made to them that were part and

 parcel of this scheme and the end result of every effort made by

 these Defendants.        That is enough to establish a fraudulent scheme

 which, by its duration and the number of instances of mail and wire

 fraud,      constitutes    a    pattern    of     racketeering   action     for    the

 purposes of § 1962(c).

        2.     Plaintiffs Have Identified RICO Persons and an Enterprise


        Defendants    Ferguson,      Robinson,         Parrott,   David     Plummer,

 Spencer Plummer,         ClassicStar       2004,      ClassicStar    Farms,       and

 GeoStar, as well as ClassicStar and Gastar, are "persons" who may

 be held liable for violations of § 1962(c). Further, Plaintiffs

 have     identified an enterprise, the                "ClassicStar   Enterprise,"

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 which is an association-in-fact of those persons and                  sufficiently

 distinct from the persons comprising it for the purposes of their

 RICO claim.

       Under § 1961(3), a RICO "'person' includes any individual or

 entity capable      of    holding   a     legal    or    beneficial    interest in

 property."     The individual       persons (Ferguson, Robinson, Parrott,

 and the Plummers) and the corporate                 entities     (ClassicStar,

 Gastar,     ClassicStar    2004, ClassicStar Farms,           and GeoStar) named

 as RICO defendants are each capable of holding a legal                          or

 beneficial     interest in property and, thus, qualify as "persons"

 for the purposes of § 1962(c).

       An     enterprise        includes     "any        individual, partnership,

 corporation, association or other legal entity, and any union or

 group of individuals           associated      in fact although not a legal

 entity."      18 U.S.C. § 1961(4).          An enterprise may be "proved by

 evidence of an ongoing organization, formal or informal,                  and   by

 evidence     that   the   various    associates         function as a continuing

 unit."      United States v. Turkette, 452 U.S. 576, 583 (1981).                 In

 this instance the evidence of such an enterprise is striking.                   The

 RICO defendants operated an association-in-fact enterprise to

 persuade investors to participate in the Mare Lease Program and,

 subsequently, alternative investment schemes in order to fund oil

 and   gas    interests    of    interest    to     GeoStar.     Because    of   the

 interconnected nature of the RICO "persons," through corporate


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 affiliations, employment relationships, and ownership interests in

 the various businesses involved, everyone benefitted from the

 wealth to be gained from these interests.                Of course,       they were

 persuading investors to invest in                business   opportunities which

 were not everything that they purported them to be, which will be

 discussed elsewhere in this Memorandum Opinion and Order.

        The ClassicStar Enterprise described by Plaintiffs is complex

 but,        at   its   foundation,         the    "persons"    comprising       the

 association-in-fact enterprise intended to                  sell more     and more

 Mare Lease Programs, even with the knowledge that the Programs sold

 could not all be sustained with the thoroughbred breeding interests

 that    ClassicStar     had   on    hand    or   could   acquire.     While    some

 thoroughbred interests existed, the goal was clearly to sell as

 many Programs as possible, whether or not enough stock existed to

 support them, and the use of the mails and wires to accomplish this

 (for    the      dissemination     and   receipt    of   program    and    investor

 information and monies) was clearly anticipated - and realized on

 many occasions.26       These sales were fueled by a marketing campaign


        26
           As in their earlier Motions to Dismiss, Parrott and the
 GeoStar defendants argue that Plaintiffs have failed to identify
 with sufficient particularity any racketeering activity, i.e.,
 instances of mail and or wire fraud, performed by Robinson,
 Parrott, or Ferguson and have, thus, failed to identify a valid
 RICO enterprise with respect to these Defendants. While the Sixth
 Circuit requires Plaintiffs to identify with specificity the
 actions that each defendant has taken in furtherance of the alleged
 fraud, see, e.g., Central Distr. Of Beer, Inc. v. Conn, 5 F.3d 181
 (6th Cir. 1983) and In re Reciprocal of America (ROA) Sales
 Practice Litigation, Master No. MDL 1551 Civ. No. 04-2078, 2007 WL

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 which touted the possibility of return on the investment (albeit

 with   risk)    and   the    tax   benefits    available     to   those    who

 participated, both of which relied on the actual existence of the

 horses and the assumption of risk taken on in bearing the expense

 of maintaining and breeding those horses.            The money brought in

 through those sales was, in turn, used in whole or in large part to


 2900285, *8 (W.D. Tenn. Sept. 28, 2007), the law makes no
 requirement that each defendant involved must have personally made
 a misrepresentation to a plaintiff or used the mails or wires. To
 satisfy the particularity requirement, a plaintiff need only allege
 that each RICO defendant participated in a scheme to defraud
 knowing or having reason to anticipate the use of the mail or wires
 would occur and that each such use would further the fraudulent
 scheme. Advocacy Org. for Patients and Providers v. Auto Club Ins.
 Assoc., 176 F.3d 315, 322 (6th Cir. 1999). "It is not necessary to
 allege that the defendants have personally used the mail or wires;
 it is sufficient that a defendant ‘causes' the use of the mails and
 wires." SKS Constructors, Inc. v. Drinkwine, 458 F. Supp. 2d 68,
 76 (E.D.N.Y. 2006); Beard v. Worldwide Mortgage Corp., 354
 F.Supp.2d 789, 802-803 (W.D. Tenn. 2005) (citing United States v.
 Cantrell, 278 F.3d 543, 546 (6th Cir. 2001); United States v.
 Brown, 146 F.3d 477, 488 (6th Cir. 1998); United States v.
 Oldfield, 859 F.2d 3992, 400 (6th Cir. 2008)) (personal use of the
 mail or electronic communication is not required to state a claim
 for mail or wire fraud).
      As set forth in this Court’s earlier decision on the
 Defendants’ Motions to Dismiss Plaintiffs’ Fourth Amended
 Complaint, Plaintiffs identified the fraudulent misrepresentations
 made to them with sufficient particularity to survive a motion to
 dismiss. They have also identified the use of the wires and mails
 as part of the scheme. These averments have been borne out in the
 proof offered in support of their Motion for Summary Judgment. It
 is undisputed that misrepresentations were made to the Plaintiffs
 in order to induce their participation in the Mare Lease Programs
 and that the mails and the wires were used as part and parcel in
 the scheme to induce their participation.      Further, the facts
 demonstrate that Defendants caused or had reason to know of the use
 of the mails and wires as an integral part of their scheme to
 defraud Plaintiffs. It is irrelevant that a particular utterance
 of the misrepresentation was not spoken by every one of their lips
 or that it did not flow from every one of their pens.

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 fund other ventures in which Plaintiffs had no interest.                              Of

 course,   the     ClassicStar       Enterprise     would     have   never   been      as

 successful at raising so much capital for the RICO defendants

 interests    if      the   RICO   "persons"     had   not    been   involved     in    a

 fraudulent      scheme      to    sell   more     Mare      Lease   Programs     than

 Classicstar's assets could support and to cover up the overselling

 of the Mare Lease Programs so that the monies remained invested

 and the funding of Defendants' interests could continue.                    When it

 became necessary to cover up the overselling, make it appear that

 the investor Plaintiffs had received the benefit of their bargain

 with    ClassicStar        (i.e.,    other      investment     interests    or     the

 legitimate and well founded opportunity to take advantage of tax

 deductions because of their investments), and make sure that no one

 wanted their investment monies returned, the alternative investment

 mechanism was devised and employed by the "persons" involved in the

 ClassicStar Enterprise.

        Further, the facts before this Court detail the interactions

 of each of the corporate and individual "persons" working in

 concert as an "association-in-fact" to effect the ends of the

 enterprise      to    Plaintiffs'     detriment.         ClassicStar    was      the

 marketing vehicle, GeoStar directed the finances, GeoStar and

 Gastar organized and held (or purported to hold) the mineral

 portions of the combined programs and provided financial clout to

 reassure investors, NELC was the not-so-independent lender which


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 facilitated the large investments, and FEEP, GFSC, and other shell

 companies disguised the overselling of the Programs, staving off

 the discovery of the fraud and the fall-out.                 Ferguson, Robinson,

 and   Parrott    were      the    owners   and     principals    of   GeoStar      and

 controlled      it.        Since    they    controlled      GeoStar    and       GeoStar

 controlled ClassicStar, likewise controlled ClassicStar. But their

 involvement is not so simply explained, for these men were

 shapeshifters, representing themselves to Plaintiffs as officers of

 GeoStar,     Gastar,       ClassicStar,      or    some    combination      of    these

 entities. These individuals, together with accountants, attorneys,

 and salespeople, developed and maintained the Mare Lease Program

 run by ClassicStar, developed marketing materials and documents

 that would draw investors in by touting returns based on equine

 stock owned by ClassicStar and the tax benefits that would flow

 from participation in the program as advertised, devised and

 refined     documents      that    would    bind    investors    to   the    program,

 orchestrated what appears to be - on the whole - minimal funding

 for the equine programs, and directed or permitted the flow of

 investor dollars away from the equine programs and into other

 endeavors in which investors like Plaintiffs had no interest and

 from which they had no hope of return.

       The RICO enterprise must, as Defendants insist, be distinct

 from the "persons" comprising it. In other words, a RICO plaintiff

 may   not   allege     a   RICO    enterprise      which   is,   in   reality,      the


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 corporate "person" liable for the action.           See, e.g., Bessette v.

 Avco Fin. Servs., Inc., 230 F.3d 439, 449 (1st           Cir.   2000);    Old

 Time Enters., Inc. v. Int'l Coffee Corp., 862 F.2d 1213, 1217 (5th

 Cir. 1989).    To do so would mean that RICO:

             . . . would encompass every fraud case against
             a corporation, provided only that a pattern of
             fraud and some use of the mails or of
             telecommunications to further the fraud were
             shown; the corporation would be [a] RICO
             person and the corporation plus its employees
             the ‘enterprise.’    The courts have excluded
             this far-fetched possibility by holding that
             an   employer   and   its   employees   cannot
             constitute a RICO enterprise.


 Fitzgerald v. Chrysler Corp., 116 F.3d 225, 226 (7th Cir. 1997)

 (citations omitted); see also Puckett v. Tenn. Eastman Co., 889

 F.2d 1481, 1489 (6th Cir. 1989) (holding that where corporation is

 acting by and through its employees, it is acting in the only

 manner it is possible for a corporation to act and that corporation

 cannot be both the person and the enterprise for the purposes of a

 1962(c) claim); Yellow Bus Lines, Inc., v. Drivers Chauffeurs &

 Helpers Local Union 639, 883 F.2d 132, 141 (D.C. Cir. 1989)

 (holding that an accused union organization could not associate

 with its own members to form a RICO enterprise which was itself and

 that § 1962(c) immunizes organizations which are merely victims);

 Atkinson v. Anadarko Bank & Trust Co., 808 F.2d 438, 441 (5th Cir.

 1987) (holding company not liable for RICO violation simply because

 it purchased shares of plaintiffs’ notes from its subsidiary, a


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 bank, because the bank, holding company, and employees had no

 distinct existence apart from the bank and could not constitute an

 enterprise).

        While     plaintiffs    may    not    use    RICO   to   impose      liability

 vicariously on corporate "enterprises" because it would violate the

 distinctness requirement, vicarious liability under § 1962(c) is

 "'appropriate'      in     cases   like     this    one,   where     the   corporate

 principal is distinct from the RICO enterprise and 'is alleged to

 have    attempted     to    benefit    from       its   employees'    racketeering

 activity.'"      Davis v. Mutual Life Ins. Co. of New York, 6 F.3d 367,

 379 (6th Cir. 1993) (quoting Petro-Tech, Inc. v. Western Co. of

 North America, 824 F.2d 1349, 1361-62 (3rd Cir. 1987)).

        In Davis, an insurance company was held liable as a "person"

 because of the actions of its agent (also a RICO "person"), an

 individual who sold life insurance policies for the defendant

 insurance company through his own company (which was named as the

 RICO "enterprise"), by which investors were defrauded. Id. at 371.

 Specifically, that agent told investors that, if they purchased

 policies    in    conjunction      with     the    formation    of   a     home-based

 business, they could potentially eliminate their federal income

 tax liability.       Id.      He and his associates went so far as to

 prepare tax returns for his clients, claiming very liberal business

 expenses, but clients found that, when audited, the deductions were

 mostly invalid.       Id. at 371-72.        Those clients were then assessed


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 hundreds of thousands of dollars in additional taxes, penalties,

 and interest by the IRS.          Id. at 372.       Because the insurance

 company actively promoted and sponsored the scheme enacted by its

 agent through his company, it had allowed and encouraged the scheme

 with knowledge of the fraud in violation of § 1962(c) and was

 liable for it.     Specifically, the insurance company's           officers

 had attended seminars, listened to presentations, and recruited

 employees to work in the combined insurance and tax program, then

 accepted and retained premiums.         Id. at 374-75, 379-80.

       Here, the ClassicStar Enterprise is distinct from GeoStar and

 was so much more than just a parent and its subsidiaries going

 about their business.         GeoStar actively promoted and sponsored,

 facilitated, and participated in the scheme enacted by its agents

 and subsidiaries.      GeoStar agents kept the books for ClassicStar

 and was, through its agents, undoubtedly aware of the shortfall of

 breeding stock for the Mare Lease Programs, the underfunding of

 ClassicStar by virtue of its own withdrawals from ClassicStar's

 coffers, and the diminished ability of ClassicStar to offer any

 hope of return to its investors in what was already a risky

 business, equine breeding, because of its lack of stock and lack of

 capital to obtain that stock.           Its own agents, including David

 Plummer, agents of its subsidiaries, and others marketed the

 ClassicStar    Mare   Lease    Progam   offerings    and   the   alternative

 investments that would ultimately mask the underpopulation and


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 overvaluation of the equine stock maintained by ClassicStar to

 support the Mare Lease Programs.               The interconnectedness of the

 various parties, as corporate entities, agents, and officers of one

 another does not mean, however, that the ClassicStar Enterprise was

 GeoStar.    As taught in Davis, such analysis is not applicable in

 cases    where   the    alleged   enterprise      is    an   association-in-fact

 enterprise of which a corporation is but one member, even if the

 other     members      of   the   association-in-fact            enterprise    have

 relationships amongst themselves. See Davis, 6 F.3d at 378-79; see

 Fleischhauer v. Feltner, 879 F.2d 1290, 1296-97 (6th Cir. 1989)

 (upholding RICO verdict in a matter where the plaintiffs alleged

 a distinct enterprise and an association-in-fact comprised of two

 individuals and three corporations and concluded that the fact that

 one of those individuals owned 100% of all three corporations did

 not prevent them from being legally distinct entities capable of

 forming an association-in-fact enterprise).

         Plaintiffs' Fourth Amended Complaint avers and the facts

 brought forth in support of their RICO claim demonstrate that they

 were injured by an enterprise which existed separate and apart from

 GeoStar in which GeoStar acted together with other "persons"

 (which, admittedly, included            GeoStar's      officers, employees, and

 subsidiaries) to harm them.             GeoStar is a key "person" in the

 enterprise,      although    it   was    one    among    many.      Thus,     it   is

 permissible to hold GeoStar (and any of the other corporate


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 defendants listed, for that matter) vicariously liable for the

 actions of its agents who are also participants and "persons" in

 the "association-in-fact" for violations of § 1962(c) attributable

 to that enterprise.27      The Court will not conflate the notion of

 the   corporation-as-enterprise          with     the    situation      where         a

 corporation     like   GeoStar    is    a     "person"    distinct      from     the

 "enterprise" and concludes that Plaintiffs have identified a RICO

 "enterprise" which is sufficiently distinct from the RICO "persons"

 in this matter.

       Further, Plaintiffs have met their burden of demonstrating

 that the ClassicStar Enterprise, an association-in-fact comprised

 of the RICO Defendants, has an existence separate and apart from

 the racketeering activities, i.e., mail and wire fraud, conducted.

 Contrary   to   Defendant    Parrott's        argument   that   there    must     be

 separate proof of an enterprise's existence, beyond those facts

 demonstrating that racketeering             activities occurred, relying on

 Crowe v. Henry, 43 F.3d 198, 205 (5th Cir. 1995) (holding                      that

 enterprise must carry on some activity aside from               the   allegedly

 unlawful activities described in the complaint), the United States



       27
         The Court understands from Defendants’ argument that they
 are truly asking the Court to protect them from the de facto and de
 jure veil piercing opportunities available in a RICO matter which
 is properly pleaded and supported. The Court, however, can only
 afford them such protection as the statute permits by its own
 terms. Because the distinctness requirement of 18 U.S.C. § 1961(4)
 has not been violated, their concern is one for the legislature,
 not this Court

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 Supreme Court has made it clear that the same evidence may support

 both the existence of a pattern of racketeering activity and the

 existence of the enterprise.       Boyle v. United States, __ U.S. __,

 129 S.Ct. 2237 (2009).

         To establish an association-in-fact        enterprise, a plaintiff

 must show only "a purpose, relationships           among those associated

 with the enterprise, and longevity sufficient to permit these

 associates to pursue the enterprise's purpose." Id. at 2244.                No

 hierarchical or structural attributes are required; rather, the

 group "is simply a continuing unit that functions with a common

 purpose."    Id. at 2245.    To say that a plaintiff must show proof of

 the existence of an enterprise "beyond that inherent in the pattern

 of racketeering     activity" means simply that "the existence of the

 enterprise is a separate element that must be proved," and evidence

 of   an   enterprise   may   be     inferred    from    the   same   evidence

 establishing the pattern of racketeering activity.             Id.   For this

 reason, the Boyle court affirmed the conclusion that a group of

 bank robbers who stole night deposit boxes over a period of several

 years constituted a RICO enterprise, despite the defendant's claim

 that the group lacked ascertainable structure separate from the

 crimes it committed and despite the fact that the group carried on

 no other activity other than the criminal           activity which was the

 racketeering activity for the purpose of the RICO claim.               Id. at

 2242.


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       This Court reaches a similar conclusion in the instant matter.

 The absence of some sort of formal structure for the ClassicStar

 Enterprise (which is particularly notable when the fluid and mobile

 enterprise is juxtaposed against the byzantine structure of the

 formal and legally recognized corporations, shells, officers, and

 agents that are the “persons”) is not dispositive.               Rather, the

 facts show that the RICO "persons" worked together to conduct a

 scheme of fraud to take in money to support their own ends over

 several years, long enough to permit these associates to pursue the

 ClassicStar Enterprise's purpose and take in millions of dollars to

 fund their own endeavors. Frankly, those facts are enough to prove

 the existence of the enterprise.        It is of no consequence that the

 same facts support the conclusion that there existed a pattern of

 racketeering activity.       See id.

             3.    Defense of In Pari Delicto

       The Plummer Defendants insist that Plaintiffs cannot succeed

 as a matter of law on Counts I and II because there is a genuine

 issue of material fact as to whether Plaintiffs were in pari

 delicto with Defendants.         The defense of in pari delicto is a

 simple construct: “In the case of equal or mutual fault . . . the

 position of the [defending] party . . . is the better one.”

 Bateman Eichler, Hill Richards, Inc. v. Berner, 472 U.S. 299, 306

 (U.S. 1985) (quoting Black’s Law Dictionary 711 (5th ed. 1979)).

 “The defense embodies ‘the common-law notion that a plaintiff’s


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 recovery may be barred by his own wrongful conduct.’” Rogers v.

 McDorman, 521 F.3d 381, 385 (5th Cir. 2008) (quoting Pinter v.

 Dahl, 486 U.S. 622, 632 (1988)).            The purpose of the doctrine is

 twofold:

             Courts apply the defense to protect judicial
             integrity and to deter wrongdoing. “The
             defense is grounded on two premises: first,
             that courts should not lend their good offices
             to mediating disputes among wrongdoers; and
             second, that denying judicial relief to an
             admitted wrongdoer is an effective means of
             deterring illegality.” Bateman Eichler, 472
             U.S. at 306, 105 S.Ct. 2622 (footnotes
             omitted); see also In re Dublin Securities,
             Inc., 133 F.3d 377, 380 (6th Cir. 1997) (“‘No
             Court will lend its aid to a man who founds
             his cause of action upon an immoral or illegal
             act.’ ”) (quoting In re Dow, 132 B.R. 853, 860
             (Bankr. S.D. Ohio 1991)); In re Amcast Indus.
             Corp., 365 B.R. 91, 123 (Bankr. S.D. Ohio
             2007) (noting that the doctrine “prevents one
             wrongdoer from recovering from another because
             each should bear the consequences of their
             wrongdoing without legal recourse against the
             other”).

             The in pari delicto defense is available only
             when: (1) the plaintiff bears “at least
             substantially equal responsibility” for the
             wrongs he seeks to redress, and (2) preclusion
             of suit would not “significantly interfere”
             with the purposes of the law or harm the
             public interest. Bateman Eichler, 472 U.S. at
             310–11; Pinter v. Dahl, 486 U.S. 622, 633
             (1988).


 In re National Century Financial Enterprises, Inc., __ F. Supp. 2d

 __, 2011 WL 1397813, *7 (S.D. Ohio) (S.D. Ohio Apr. 12, 2011).

       While the Sixth Circuit has not yet reached this issue, Courts

 in other circuits have held that in pari delicto can be valid

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 defense to a civil RICO claim because “[t]o allow co-conspirators

 to recover from each other would not, as the [Eleventh Circuit has]

 pointed out, deprive violators of their ill-gotten gains, but would

 transfer the ill-gotten gains between them.”           Rogers, 521 F.3d at

 387-89 (citing Official Comm. Of Unsecured Creditors of PSA, Inc.

 v. Edwards, 437 F.3d 1145, 1152-56 (11th Cir. 2006)).             The Court

 assumes, for the sake of argument, that the defense of in pari

 delicto would apply with respect to a RICO claim in the Sixth

 Circuit.

       Having considered the matter, the undisputed evidence does not

 support a finding that Plaintiffs were as culpable for Defendant’s

 wrongdoing as were defendants.         First, there is no evidence that

 Plaintiffs knew of the underlying problems with the program when

 they invested or even well into their participation in the Programs

 – the underpopulation of horses for the number of Programs sold,

 the overvaluation of the available horses, or the fact that

 ClassicStar was funding NELC on a transaction by transaction basis.

 Nor is there evidence that these plaintiffs were aware of the

 illusory nature of the alternative investments that they were

 offered when they sought to transfer their equine interests for

 those alternatives in order to obtain something of value for their

 investment (whether that value is understood to be the possibility

 of return on the investment or the potential for tax deductions).

 That knowledge would be necessary for these Plaintiffs to be


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 considered the type of co-conspirator who was in pari delicto with

 the defendants.

       True, as Defendants pointed out, no one forced Plaintiffs to

 participate in the scheme or in the risky equine business, and

 Plaintiffs were free to seek legal counsel to advise them.              That

 does not change the fact that Defendants misrepresented the program

 to them in the first place. Defendants have offered no proof that,

 in fact, Plaintiffs had it within their power to and did discover

 the truth of the matter.

       The fact that Plaintiffs might also “be on the hook” with the

 IRS for tax issues because they participated in or based deductions

 on the scheme provided to them by Defendants is irrelevant to the

 issues before this Court.          So is the fact, as argued by the

 Plummers that shortly after engaging in their first Mare Lease

 Programs,    these   Plaintiffs    knew     that   the   investment   was   not

 structured so that they could receive the tax benefit promoted to

 them because, regardless of what they invested in, they each traded

 most of their mare lease programs for something else (whether to

 pay off their long term NELC debt and receiving alternative

 investments like promissory notes and securities).28            Even if they


       28
           Nor is the Court persuaded that it is particularly
 meaningful that, when these Plaintiffs were presented with
 performance horse pairings that they did not want, they did not ask
 for their money back or seek to reduce the program participation
 only to the thoroughbred pairings or ask for different pairings.
 No one disputes that, for the most part, they accepted the
 Schedules presented to them and proceeded to take the tax

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 were advised, by the tax opinions or advisors, that the investments

 would need to be and remain at risk of loss in order to obtain the

 desired tax benefit, the evidence remains that they did not know

 about the true nature of the program and its severe lack of assets

 when they made their investment.            The Court is not willing to

 conclude, on these facts, that Plaintiffs bore equal responsibility

 for the wrongs they claim to have suffered at the hands of

 Defendants. The defense of in pari delicto will not aid Defendants

 on the facts before the Court.

             4.      Conspiracy

       As to Plaintiffs’ averment that, in violation of § 1962(d),

 the RICO Defendants conspired to violate § 1962(c), the Court is

 persuaded    that    the   undisputed    evidence    demonstrates     such   a


 deductions, then sought to transform the investment into something
 else. Even so, it does not change the nature of the underlying
 deception about the assets of the Mare Lease Program.
      The Plummers also bring to the Court’s attention that
 Sackhoff’s wife attended a Hands-on Horse Care Conference at the
 Buffalo Ranch facility in Utah in August 2004 at which David
 Plummer explained to her that the leasing of performance horses and
 thoroughbreds was “how we put the packages together . . . We will
 sell the performance horses to pay off all your loans, your taxes,
 your interest, your board, and all of that.” It is not clear how
 this is meaningful with respect to the fact that Defendants were
 told that they would receive one thing (thoroughbreds) in their
 Agreements, then received another (combination packages), if they
 received anything at all.
      Nor is the Court particularly troubled by the fact that at
 least some of the Plaintiffs participated in subsequent years,
 knowing they had been subject to a “bait-and-switch” in prior
 years. Where the same misrepresentations were made again, with
 promises to do better, the Court is not tempted to adopt a “once
 bitten, twice shy” requirement for RICO claims involving investment
 fraud like the one at bar.

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 conspiracy.       A RICO conspiracy is shown by the existence of an

 enterprise and the agreement that two predicates will be committed

 by at least one of the co-conspirators.            United States v. Joseph,

 781 F.2d 549 (6th Cir. 1986).               Further, a conspiracy may be

 inferred from circumstantial evidence which may reasonably be

 interpreted as participation in common plan.                United States v.

 Hughes, 505 F.3d 578, 594 (6th Cir. 2007) (discussing necessary

 proof of conspiracy for purposes of 18 U.S.C. § 371).                While “[a]

 meeting of the minds must be demonstrated, no formal agreement is

 necessary.”       Beecroft, 608 F.2d at 757.             Plaintiffs need not

 demonstrate that each defendant was aware of every detail of the

 scheme or that “[e]ach participant in the in the conspiracy . . .

 [knew] what other participants are doing, or why.”              Id. (quoting

 United States v. Jones, 425 F.2d 1048, 1051 (9th Cir. 1970)). Once

 a conspiracy is demonstrated, “slight evidence is all that is

 required to connect a defendant with the conspiracy.”                Id.

       The Court has already determined that these Defendants were

 the members in an association-in-fact enterprise which carried out

 a   scheme   to    defraud.     In   light    of   the    evidence    of   their

 participation in and their roles in the enterprise, the Court

 concludes that these defendants participated in a common plan to

 defraud Plaintiffs through the pattern of racketeering activity

 described elsewhere in this Memorandum Opinion and Order and are

 liable for conspiracy to violate § 1962(c).


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         B.   Fraud

         In the Commonwealth of Kentucky, “[a] party claiming harm from

 fraud must establish six elements of fraud by clear and convincing

 evidence as follows: a) material representation b) which is false

 c) known to be false or made recklessly d) made with inducement to

 be acted upon e) acted in reliance thereon and f) causing injury.”

 United Parcel Service Co. v. Rickert, 996 S.W.2d 464, 468 (Ky.

 1999) (fraud through direct misrepresentation); Smith v. General

 Motors Corp., 979 S.W.2d 128, 130 (Ky. Ct. App. 1998) (failure to

 disclose may be actionable where one party to a contract has

 superior information and is relied upon to disclose same when it

 fails to do so or where reliance is based on only a partial

 disclosure); Raymond-Elderedge Co., Inc. v. Security Realty Inv.

 Co., 91 F.2d 168, 173 (6th Cir. 1937) (one who clothes another with

 the power to commit fraud and then remains silent may be liable);

 Lappas v. Barker, 375 S.W.2d 248, 272 (Ky. 1963) (one who aids and

 abets fraud by a fiduciary becomes jointly liable); Kirby v. Firth,

 311 S.W.2d 799, 802 (1958) (one who accepts proceeds of agents’

 fraud    with   knowledge    ratifies    that   fraud   and   becomes    liable

 because,     “[t]hough      innocent    himself   at    the    time     of   the

 misrepresentation, one may not accept the fruits of a business deal

 and at the same time disclaim responsibility for the measures by

 which they were acquired.”).

         The Court has already determined that misrepresentations were


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 made, as described, above and explained how and when they were made

 by defendants or their agents to Plaintiffs, and they have been

 proven by clear and convincing evidence.          These misrepresentations

 – about the availability and ownership of thoroughbred horses to

 populate the Mare Lease Programs purchased, the value of the horses

 listed in the Schedules provided and upon which the investment

 price was based, and the independence of NELC and the nature of the

 funding for the NELC loans – were made repeatedly by David Plummer,

 Ferguson,    Spencer      Plummer,   and    Parrott    and   Robinson.    These

 individuals made this misrepresentations during presentations to or

 in conversation with Plaintiffs’ principals or agents, in written

 materials, including contracts and opinions prepared and reviewed

 by the defendants, then provided to Plaintiffs’ principals or

 agents, as specified in the discussion and description of facts

 above.

       Further, each of the individual Defendants were involved, as

 described above, in the marketing of the program (presentations and

 individual contact with Plaintiffs), the preparation of schedules,

 the   preparation    of    contracts,   and/or   the    development      of   the

 marketing materials in and by which these misrepresentations were

 made.    It can be easily inferred from their actions and the

 information available to them and, in the case of the Plummers,

 their direct admissions, that they knew or should have known that

 the statements or omissions failed to accurately represent the


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 realities of the investment scheme.

       Further, each of these defendants aided and abetted one

 another in making these misrepresentations by virtue of their

 participation in the fraudulent scheme, described above. Robinson,

 Parrott, and Ferguson, both as agents of GeoStar and ClassicStar

 and – considering their roles in the scheme described as an

 enterprise for the purposes of civil RICO – of their own accord,

 knowingly and intentionally clothed the Plummers with the power to

 commit fraud on Plaintiffs by providing them with the authority and

 the tools to sell the Programs by means of the misrepresentations

 described above and are, thus, liable for his actions. Geostar and

 ClassicStar are, in any event, liable for the acts of their agents

 – David Plummer, Ferguson, Spencer Plummer, Parrott, and Robinson.

       As described above, these Defendants intended in each and

 every instance for potential investors, including Plaintiffs, to

 rely upon their misrepresentations in deciding whether to invest in

 the Mare Lease Program.      These misrepresentations were made during

 sales presentations and conversations with Plaintiffs’ agents and

 principals and those made in the marketing materials, schedules,

 and contracts provided to Plaintiffs.              Defendants made those

 statements to induce participation in ClassicStar’s Mare Lease

 Program in order that they could have those invested monies

 available to fund other endeavors, in which Plaintiffs had no

 interest. Plaintiffs did invest, basing their decision to do so on


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 those misrepresentations regarding ClassicStar’s ownership of the

 equine stock, the value of the equine stock, participation in the

 equine     breeding   industry      with   the    potential    for   foals,   the

 relationship of their investment cost to that value, and the

 availability of tax benefits as a result of participation which

 relied on the program and its attendant risks being as described in

 the descriptions of the program, i.e., actual thoroughbred breeding

 opportunities valued as described.               Plaintiffs invested to their

 detriment since they did not receive what they had been promised –

 the   opportunity     to   assume    the   burdens    and     benefits   of   risk

 attendant in breeding thoroughbreds in instances where the promised

 thoroughbreds were not provided and any advertised opportunities,

 including profits or tax benefits, that could flow from that

 assumption of risk.

       C.     Breach of Contract for Mare Lease Agreements

       To establish a breach of contract, Plaintiffs must establish

 the existence of a contract, breach of that contract, and damages

 flowing from the breach of contract.29                Brown v. Kinross Gold


       29
          When a United States District Court is confronted with
 state law claims, that court uses the conflict of law rules of the
 forum state in which it sits to determine which state's substantive
 law will govern. See Wallace Hardware Co., Inc. v. Abrams, 223 F.3d
 382, 391 (6th Cir. 2000). Kentucky courts look to see which state
 has the most significant relationship to the transaction and the
 parties. Breeding v. Mass. Indem. and Life Ins. Co., 633 S.W.2d
 717, 719 (Ky. 1982) (explaining Kentucky's abrogation of the lex
 loci contractus rule in favor of the most significant relationship
 test). In the instant matter, Plaintiffs have indicated through
 their briefing that whatever law is applicable among those states

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 U.S.A., Inc., 531 F. Supp. 2d 1234, 1240 (D. Nev. 2008); Barnett v.

 Mercy Health Partners-Lourdes, Inc., 233 S.W.3d 723, 727 (Ky. Ct.

 App. 2007); Hess v. Cannon Twp., 696 N.W.2d 742 (Mich. Ct. App.

 2005);     Steele v. Pacesetter Motor Cars, Inc., 672 N.W.2d 141, 144

 (Wis. Ct. App. 2003); Bair v. Axiom Design, L.L.C.,             20 P.3d 388,

 392 (Utah 2001) (citing Nuttall v. Berntson, 30 P.2d 738, 741 (Utah

 1934)); Pawlak v. Redox Corp., 453 N.W.2d 304 (Mich. Ct. App.

 1990).

       It    is   undisputed   that   Plaintiffs     entered    into   several

 agreements with ClassicStar to participate in the Mare Lease

 Programs, first executing Letter Agreements binding them to a

 schedule of payments and to executing the Mare Lease Agreements,

 which were subsequently executed by Plaintiffs.             No one disputes

 that Plaintiffs made the required payments to ClassicStar or that

 ClassicStar failed to live up to its agreements with each of these

 parties to provide all of the promised thoroughbred pairings

 (replacing the promised offerings with quarter horse pairings of

 significantly less value if pairings were provided or available at

 all), ultimately depriving Plaintiffs of the benefit of their

 bargain.30


 which might be considered to have the most significant relationship
 to the transactions and the parties, the result is the same. The
 Court agrees, as indicated above, and will not engage in any
 detailed choice of law analysis as a result.
       30
         Plaintiffs have reached a settlement with ClassicStar as
 to this claim, and no one disputes that one of the central tenets

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       What is left before the Court then, is the question of what

 damages    are    available          based    on     these   breaches    and    whether

 Defendants GeoStar, Ferguson, Robinson, and Parrott are liable for

 them on a theory of alter ego or instrumentality.                      The Court will

 consider these issues in reverse order.

       With respect to which jurisdiction’s corporate veil piercing

 law applies in this case, this is largely an academic question. On

 the   facts     presented       to    this    Court,     the    corporate      veils   of

 ClassicStar and GeoStar are appropriately pierced, whether the laws

 of the forum state (Kentucky) or the jurisdictions of incorporation

 (Utah for Classicstar and Delaware for GeoStar) are applied.                           See

 First Const., LLC v. Gravelroad Entertainment, LLC, 6:07-cv-155-

 DCR, 2008 WL 2038878 (E.D. Ky. May 12, 2008) (applying Kentucky law

 to    resolve    issue     of    piercing           corporate   veil    of     Tennessee

 corporation      because    there       existed       sufficient   contacts      and   no

 overwhelming interests to the contrary); Thomas v. Lytle, 104

 F.Supp.2d 906, 927 (M.D. Tenn. 2000) (applying law of state of

 incorporation      to    determine       whether       corporate    veil     should    be

 pierced) (citing United States v. Daugherty, 599 F.Supp. 671, 673


 of that agreement – the representation that ClassicStar owned the
 interests in the horses that it claimed to have – was untruthful
 and that ClassicStar could not provide the types of pairings that
 it had agreed to provide to Plaintiffs. Whether the benefit of
 Plaintiffs’ bargain with ClassicStar was to have been the breeding
 opportunity purchased, the ability to lawfully claim the tax
 deductions based on those pairings as promised, or some combination
 of both, no one disputes that they did not receive that for which
 they contracted.

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 (E.D. Tenn. 1984); Soviet Pan Am Travel Effort v. Travel Committee,

 Inc., 756 F.Supp. 126, 131 (S.D.N.Y.1991) (“Because a corporation

 is a creature of state law whose primary purpose is to insulate

 shareholders from legal liability, the state of incorporation has

 the greater interest in determining when and if that insulation is

 to   be   stripped    away.”);        1    Fletcher      Cyclopedia     of     Private

 Corporations § 41.90 (perm. ed. rev. vol. 1999) (“Although the

 choice of which state's law is to be applied in a diversity case is

 determined    by   the   law     of       the    forum   state,   the        state   of

 incorporation has the greater interest in determining when and if

 the corporate veil is to be pierced.”)).

       Under Kentucky law, courts will disregard the corporate entity

 and hold another entity or individual liable where the corporate

 form is abused.      White v. Winchester Land Development Corp., 584

 S.W.2d 56, 61-62 (Ky. Ct. App. 1979) (explaining that Kentucky

 recognizes three theories of “piercing the corporate veil”: (1) the

 instrumentality theory, (2) the alter ego theory, and (3) the

 equity formulation).       “[T]he three prongs of the instrumentality

 theory of piercing the corporate veil that must be established in

 order to warrant piercing are that the corporation was a mere

 instrumentality of the shareholder; that the shareholder exercised

 control over the corporation in such a way as to defraud or to harm

 the plaintiff; and that a refusal to disregard the corporate entity

 would subject the plaintiff to unjust loss.”                Daniels v. CDB Bell,


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 LLC, 300 S.W.3d 204, 213 (Ky. Ct. App. 2009) (citing White, 584

 S.W.2d at 61).     The alter ego formulation requires a demonstration

 “(1) that the corporation is not only influenced by the owners, but

 also that there is such unity of ownership and interest that their

 separateness has ceased; and (2) that the facts are such that an

 adherence to the normal attributes . . . of a separate corporate

 existence would sanction a fraud or promote injustice.” White, 584

 S.W.2d at 61-62.       “[T]he decision as to whether to pierce the

 corporate veil is an equitable one to be decided by the trial court

 and not the jury.”     Daniels, 300 S.W.2d at 213.       The corporate veil

 should be pierced only “reluctantly and cautiously” and then only

 where some combination of the following factors is present:

 undercapitalization, failure to observe formalities of corporate

 existence, nonpayment or overpayment of dividends, siphoning off of

 funds by the dominant shareholders, where the majority shareholders

 have    guaranteed    corporate     liabilities     in   their    individual

 capacities, and where commingling of personal and corporate funds

 has occurred.     White, 584 S.W.2d at 62.

        In order to justify piercing the corporate veil under Utah

 law, this Court must find that:

             (1) there [was] such unity of interest and
             ownership that the separate personalities of
             the corporation and the individual no longer
             exist, viz., the corporation is, in fact, the
             alter ego of one or a few individuals; and (2)
             the observance of the corporate form would
             sanction a fraud, promote injustice, or an
             inequitable result would follow.

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 Salt Lake City Corp. v. James Constructors, Inc., 761 P.2d 42,

 46-47 (Utah Ct. App. 1988) (quoting Norman v. Murray First Thrift

 & Loan Co., 596 P.2d 1028, 1030 (Utah 1979)).                The factors to

 consider include whether there is:



             (1)   undercapitalization     of   a   one-man
             corporation; (2) failure to observe corporate
             formalities; (3) nonpayment of dividends; (4)
             siphoning of corporate funds by the dominant
             stockholder; (5) nonfunctioning of other
             officers   or   directors;   (6)  absence   of
             corporate records; (7) the use of the
             corporation as a facade for operations of the
             dominant stockholder or stockholders; and (8)
             the use of the corporation entity in promoting
             injustice or fraud.


 Colman v. Colman, 743 P.2d 782, 786 (Utah Ct. App. 1987) (citations

 and footnotes omitted).

       Delaware courts look to many of the same factors as Kentucky

 Utah courts, including whether:

             (1) corporate records were kept, (2) corporate
             formalities were observed, (3) officers and
             directors   functioned   properly,   (4)   the
             dominant shareholder(s) siphoned corporate
             funds, and, (5) the corporation was a mere
             facade for the dominant shareholder(s). United
             States v. Golden Acres, Inc., 702 F.Supp.
             1097, 1104 (D. Del. 1988). The Delaware courts
             explain that a plaintiff must demonstrate a
             level of complete domination and control by
             the shareholder over the corporation in order
             to state a cognizable claim to pierce the
             corporate veil. Wallace ex rel. Cencom Cable
             Income Partners II, Inc., L.P. v. Wood, 752
             A.2d 1175, 1183–84 (Del. Ch. 1999). “There
             also must be an element of fraud to justify
             piercing the corporate veil.” Case Financial,

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             Inc. v. Alden, Case No. 1184–VCP 2009 WL
             2581873, at *4 (Del. Ch. 2009) (citing Mason
             v. Network of Wilmington, Inc., Case No.
             19434–NC 2005 WL 1653954, at *3 (Del. Ch.
             2005) ).


 Hitachi Medical Systems America, Inc. v. Branch, No. 5:09cv01575,

 2011 WL 3921718, *5 (N.D. Ohio 2011).

        GeoStar exercised absolute control over ClassicStar during the

 relevant time.     That alone would not mean that the corporate veil

 between    GeoStar    and     ClassicStar    must   be      pierced    to   avoid

 sanctioning a fraud or permitting an injustice to be worked.

 However, it is clear that the separate identities of the companies

 were – as a working matter – intended to work a fraud on investors

 like   Plaintiffs.      ClassicStar,     wholly     owned    by   GeoStar,      was

 operated by GeoStar without sufficient capital to transact the

 business it had with the creditors of ClassicStar, including

 Plaintiffs.     No one disputes that GeoStar exercised essentially

 complete    control    over    the   funds    and    financial        records    of

 ClassicStar and that, rather than ClassicStar operating under its

 own auspices and paying dividends to GeoStar, there was a great

 deal of collusion between the companies.

        GeoStar paid substantial sums for ClassicStar expenses while

 ClassicStar did the same for GeoStar expenses, and it was common

 practice for the various GeoStar affiliates, including ClassicStar,

 to fund various settlement obligations of other affiliates with “no

 rhyme nor reason” according to Defendants’ own accounting expert,

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 Sulaksh Shaw.31 Although Shah denominated all of these transactions

 as “intercompany loans to loan money to operate their businesses,”

 the    evidence    strongly    suggests   that    “funds   were   intermingled

 between the two entities [ClassicStar and GeoStar] for no related

 consideration,” as articulated by Plaintiffs’ accounting expert

 G.N. Keeney, III, for the “books and records of GeoStar and

 ClassicStar reflect” that there was little effort to document

 purported transactions between the two companies.            In other words,

 separate accounts and books may have been maintained for the two

 companies, but little documentation was made as to the particulars

 of the transactions.         The Court finds this troubling.       The records

 were simply inadequate to capture all the instances or details of

 the transactions in which GeoStar and ClassicStar paid each other’s

 obligations.

        Of course, poor recordkeeping might not be enough to foist

 responsibility for ClassicStar’s debts on GeoStar without more, but

 there is more.       Time and time again the financial stability and

 resources of GeoStar and Gastar were promoted to Plaintiffs in

 order to assuage them of concerns about the ability of ClassicStar

 to perform its promises – whether by advertising ClassicStar as

 part    of   the   GeoStar    Group,   assuring   Plaintiffs      that   GeoStar



        31
         Shah also testified that GeoStar’s “recordkeeping . . . was
 not up to the standards of a public company” and that, even though
 GeoStar was not a public company, “there was a lot of room for
 improvement” in the recordkeeping that he had reviewed.

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 financially backed ClassicStar, or asserting that Gastar would fund

 the purchase of thoroughbreds to populate the Mare Lease Program.

 When this is considered in light of the fact that ClassicStar was

 grossly        undercapitalized          and       incapable      of    supporting      the

 transactions into which it entered – in large part because GeoStar

 moved $100,000,000 from ClassicStar’s accounts to its own over time

 –   it    is    clear    that     GeoStar         operated     ClassicStar    as   a   mere

 instrumentality,          in     such    a    way    as   to    defraud     ClassicStar’s

 investors, and that piercing the corporate veil is necessary to

 avoid injustice.          If the veil were to remain unpierced as between

 ClassicStar and GeoStar, Plaintiffs would be subject to an unjust

 loss.

          The   Court     turns    next       to   whether      Ferguson,    Parrott,    and

 Robinson can be, in turn, liable for those contracts.                         Plaintiffs

 have provided no evidence that Ferguson, Parrott, or Robinson

 disregarded the corporate formalities of ClassicStar in the sense

 that they raided its accounts to directly pay their own personal

 liabilities, for example.               Nonetheless, their actions demonstrate

 that they treated GeoStar and – by extension – ClassicStar as

 instrumentalities to achieve their own ends. They made personal

 guarantees of financing obtained for ClassicStar from Fifth Third

 Bank     and,    ultimately,        were       the    individuals      responsible      for

 directing       the     transfer    of       multiple     millions     of   dollars    from

 ClassicStar’s accounts to GeoStar’s accounts with the knowledge


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 that the transfers would leave ClassicStar undercapitalized.                    Even

 so,   they    benefitted        handsomely     (some    more   than   others)   from

 GeoStar’s (and its affiliates’) gains.                  The funds transferred or

 “siphoned” from ClassicStar went to support GeoStar’s oil and gas

 operations, including those operated by and through Gastar, and

 ultimately to pay the principals of GeoStar, Ferguson, Parrot, and

 Robinson.32         In   other    words,    Ferguson,    Parrott,     and   Robinson

 directed or permitted the transfer of funds from ClassicStar

 elsewhere knowing that ClassicStar had obligations that it could

 not meet.         They used GeoStar to loot ClassicStar to the detriment

 of Plaintiffs and for their own gain of millions of dollars.                       The

 Court agrees with Plaintiffs that, on these facts, a second

 piercing of the veil between GeoStar and Ferguson, Parrott, and

 Robinson is necessary to avoid injustice because these individuals

 acted in such a way as to harm Plaintiffs and other investors and

 Plaintiffs would be subject to an unjust loss without the ability

 to recover from these individuals.

               D.      Damages

       As     to    damages,      the   Court   begins    its   analysis     with    an

 assessment of RICO damages. Plaintiffs must show a direct relation

 between their injuries and the conduct of the RICO defendants. See



       32
           Net distributions from the accounts of ClassicStar,
 GeoStar, Gastar, and their affiliates from 2001 to 2008 to these
 individual defendants totaled $1,117,364 for Parrott, $7,936,800
 for Ferguson, and $17,527,822 for Robinson.

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 Cassens Transport, 546 F.3d at 357. Plaintiffs are not required to

 prove reliance on the misrepresentations made or the material facts

 omitted by Defendants, see Bridge v. Phoenix Bond & Indem. Co., 553

 U.S. 639, 648-49 (2008), but proof that they did, which exists in

 this case, is sufficient to establish proximate cause in this

 Court’s mind.

       The amount of damages suffered by Plaintiffs is “the harm

 occasioned as a result of the predicate acts of the offenders.”

 Fleischhauer, 879 F.2d at 1299 (6th Cir. 1989) (citing Sedima,

 S.P.R.L. v. Imrex Co., 473 U.S. 479, 497 (1985))).                  Thus, in

 Fleischhauer, the Court of Appeals for the Sixth Circuit held that

 investor damages were limited to the amounts that they actually

 invested, not expectancy or “benefit of the bargain damages.” Id.;

 see also     Waters v. Int’l Precious Metals Corp., 172 F.R.D. 479,

 506 (S.D. Fla. 1996) (holding that, with respect to the calculation

 of damages caused by RICO violations where an investment scheme is

 the source of the harm, the “appropriate measure is the total

 amount of Plaintiff’s out of pocket capital invested which they

 would not have invested but for the Alleged Scheme”).

       Once   that   amount    is   ascertained,     the   Court   applies    a

 multiplier of three in keeping with 18 U.S.C. § 1964, which

 provides that "[a]ny person injured in his business or property by

 reason of     a violation of [§] 1962 of this chapter . . . shall

 recover    threefold   the   damages   he   sustains.”    In this instance,


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 the Plaintiffs’ out-of-pocket losses, i.e., their cash investment

 less any return, total $16,468,603.87.               Using a multiplier of

 three, the Court arrives at Plaintiffs’ recovery under RICO:

 $49,405,811.61.

       Further, the Court considers whether it is appropriate to

 award prejudgment interest for damages on a RICO claim. This Court

 and others in this Circuit have done so in the past, applying the

 state statutory rate in making the calculation. See Empire Servs.,

 Inc. v. Kanza, 1993 U.S. App. LEXIS 17645, *4-5 (6th Cir. 1993)

 (applying Tennessee’s statutory rate in calculating prejudgment

 interest       award);   Grange    v.   Mack,   Civil    Action     No.   02-110,

 Memorandum Opinion and Order (E.D. Ky. December 18, 2006).                     The

 Court remains convinced that it is appropriate to award such

 prejudgment interest on the facts before it with respect to this

 RICO claim, for the damages are based upon specific sums and are

 “liquidated claims,” susceptible to prejudgment interest under

 Kentucky law.       See Estate of Riddle v. Southern Farm Bureau Life

 Ins. Co., 421 F.3d 400, 409 (6th Cir. 2005); McMahan & Co. V. Po

 Folks, Inc., 206 F.3d 627, 634 (6th Cir. 2000) (“A claim is

 liquidated if the amount has been agreed to by the parties or is

 fixed by operation of law.”); Hale v. Life Ins. Co. of North

 America, 795 F.2d 22, 24 (6th Cir. 1986) (“Under Kentucky law, if

 the claim is liquidated, interest follows as a matter of right, but

 if   it   is    unliquidated,     the   allowance   of   interest    is   in   the


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 discretion of the trial court.”).33            The Court concludes, as well,

 that it is appropriate to calculate this amount in the manner

 proposed        by   Plaintiffs,   meaning    that   prejudgment   interest   is

 calculated from the time that investments were made on the money

 paid until such time that funds were paid back to a plaintiff, at

 which time prejudgment interest begins to run on the total of the

 investment less the return.          Thus, the total award of prejudgment

 interest will be $15,636,273.00.

       The Court declines to treble Plaintiffs’ prejudgment interest

 award      as    requested   by    Plaintiffs    since    18   U.S.C.   §   1964

 contemplates only the trebling of damages, not costs or attorneys

 fees, and not, in this Court’s mind, a trebling of prejudgment

 interest. This Court’s errand in awarding damages is circumscribed

 by the statute, and the Court will not deviate from the language

 therein.        To the extent that this represents a deviation from the



       33
         The Court is cognizant of the case law cited by Defendants
 in support of their position that the federal statutory interest
 rate should apply in RICO situations, but each of those cases is
 concerned with awards under ERISA, not RICO. See Snow v. Aetna
 Ins. Co., 998 F. Supp. 852, 856 (W.D. Tenn. 1998) (post-judgment
 rate stated in 28 U.S.C. § 1961 was made applicable to a
 prejudgment interest award in an ERISA case); Nelson v. EG&G Energy
 Measurements Group, 37 F.3d 1384 (9th Cir. 1994) (same); Britton v.
 Long Term Disability Ins. Plan of Lovelace Institutes, 217
 F.Supp.2d 1207 (D. N.M. 2002) (same). In this regard, the Court
 believes that it should proceed in a manner which is consistent
 with its earlier decision, in Grange v. Mack, Civil Action No. 02-
 110, as well as the decision of the Court of Appeals for the Sixth
 Circuit in Empire Servs., Inc. v. Kanza, 1993 U.S. App. LEXIS
 17645, *4-5 (6th Cir. 1993), and will apply the Kentucky state
 statutory prejudgment interest rate of 8%.

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 decision this Court made in Grange v. Mack, Civil Action No. 02-

 110, and that the Court of Appeals for the Sixth Circuit reached in

 Empire Servs., Inc. v. Kanza, 1993 U.S. App. LEXIS 17645, *4-5 (6th

 Cir. 1993), the Court notes that there was neither argument with

 respect to the calculation of damages (and, thus, no holding) and

 the amount of the award in Empire and neither case included a

 reasoned analysis for why prejudgment interest was trebled in

 either of those cases. Frankly, having considered the matter anew,

 the Court concludes that, in this case, trebling a prejudgment

 interest award would be inconsistent with the statute and, in any

 event, an abuse of discretion.

         Further, there can be no doubt that the damages available

 under RICO, even as articulated by the Court above, represent the

 largest amount recoverable on any of the causes of action addressed

 herein.      With that in mind, the Court will not address the

 appropriate measure of damages for either Plaintiffs’ common law

 fraud or breach of contract claims further at this juncture.

 IV.     Conclusion

         Plaintiffs have set forth a compelling and well-supported

 account of how Defendants misrepresented the reality of the Mare

 Lease    Programs    offered   through      ClassicStar   and   how,   acting

 together, they took Plaintiff’s money to use for their own ends,

 then worked to prevent the discovery the ruse and to perpetuate the

 cycle of investment.      Whether that wrong is understood through the


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 lens of a civil RICO claim, common law fraud, or breach of

 contract, the gig is up.       Plaintiffs’ motion for summary judgment

 will be granted.

         Accordingly, IT IS ORDERED:

         (1)   that Plaintiffs’ Motion to Substitute Certain Exhibits in

 Support of their Summary Judgment Pleadings [DE 565] is GRANTED and

 that the Clerk shall SUBSTITUTE the tendered exhibits as necessary

 to effect this order.

         (2)   that Defendants ClassicStar 2004, LLC, ClassicStar Farms,

 Inc.,    Tony    Ferguson,   GeoStar    Corporation,     GeoStar   Financial

 Services Corporation, and Thom Robinson’s Motion for Leave to File

 Excess Pages [DE 515] is GRANTED and that the Clerk shall FILE the

 tendered document in the record of this matter.

         (3)   that the Motion of Plaintiffs Arbor Farms, LLC, Jaswinder

 Grover, Monica Grover, MacDonald Stables, LLC, Nelson Breeders,

 LLC, and West Hills Farms, LLC, for Leave to File Excess Pages [DE

 535, 536, 555] is GRANTED and that the Clerk shall FILE the

 tendered documents in the record of this matter.

         (4)   that Defendants GeoStar Corporation, ClassicStar Farms,

 Inc., Tony Ferguson, Thom Robinson, First Source Wyoming, Inc., and

 GeoStar Financial Services Corporation’s Motion for Briefing [DE

 744] is DENIED.

         (5)   that the Motion for Summary Judgment of Plaintiffs Arbor

 Farms, LLC, Jaswinder Grover, Monica Grover, MacDonald Stables,

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 LLC, Nelson Breeders, LLC, and West Hills Farms, LLC [DE 482] is

 DENIED AS MOOT as to Defendant James D. Lyon in his capacity as

 Trustee for the Estate of ClassicStar, LLC.

       (6)   that the Motion for Summary Judgment of Plaintiffs Arbor

 Farms, LLC, Jaswinder Grover, Monica Grover, MacDonald Stables,

 LLC, Nelson Breeders, LLC, and West Hills Farms, LLC [DE 482] is

 GRANTED.

       This the 30th day of September, 2011.




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